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E-FILED; Baltimore County Circuit Court

CIRCUIT COURT FOR BALTIMOREDGEREING/¥4/2024 100" PM S8briesion: 6/14/2024 1:00 PM
MARYLAND Envelope: 16846756
401 Bosley Avenue, P.O. Box 6754, Towson, MD, 21285-6754

To: RYAN DILLON-CAPPS
1334 MAPLE AVENUE
ESSEX, MD 21221

Case Number: C-03-CV-24-002264
Other Reference Number(s):
Child Support Enforcement Number:

OHANA GROWTH PARTNERS, LLC VS. RYAN DILLON-CAPPS
Issue Date: 6/14/2024

WRIT OF SUMMONS

You are summoned to file a written response by pleading or motion, within 30 days after service of this summons
upon you, in this court, to the attached complaint filed by:

OHANA GROWTH PARTNERS, LLC
212 West Padonia Road
Timonium, MD 21093

This summons is effective for service only if served within 60 days after the date it is issued.

Whe XK. Znser_

Julie L. Ensor
Clerk of the Circuit Court

To the person summoned:
Failure to file a response within the time allowed may result in a judgment by default or the granting of the relief
sought against you.
Personal attendance in court on the day named is NOT required.
It is your responsibility to ensure that the court has your current and correct mailing address in order to receive
subsequent filings and notice in this case.

Instructions for Service:

|. This summons is effective for service only if served within 60 days after the date issued. If it is not served within
the 60 days, the plaintiff must send a written request to have it renewed.
2. Proof of Service shall set out the name of the person served, date and the particular place and manner of service.
If service is not made, please state the reasons.
3. Return of served or unserved process shall be made promptly and in accordance with Maryland Rule 2-126.
4. If this notice is served by private process, process server shall file a separate affidavit as required by Maryland
Rule 2-126(a).

CC-CV-032 (Rev. 03/2024) Page 1 of 2 06/14/2024 12:59 PM

. Ruling Record Summary # 1 of 70 EXHIBIT 104

Case 1:24-cv-03744-BAH Document16-5 Filed 01/03/25 Page 2 of 70 oo
E-FILED; Baltimore County Circuit Court

2 Docket: 6/14/2024 12:18 PM; Submission: 6/14/2024 12:18 PM
Envelope: 16844353

OHANA GROWTH PARTNERS, LLC IN THE
Plaintiff CIRCUIT COURT

VS. FOR

RYAN DILLON-CAPPS BALTIMORE COUNTY
Defendant. FILE NO,; ©-03-CV-24-002264

CERTIFICATE OF NOTICE REGARDING
MOTION FOR TEMPORARY RESTRAINING ORDER

I, ROBERT S. BRENNEN, undersigned counsel to Plaintiff Ohana Growth Partners, LLC
in connection with the above-captioned matter, hereby certify, in accordance with Maryland Rule

15-504(b), that on June 14, 2024 at 11:49 a.m. | transmitted an email to Defendant Ryan Dillon-

Capps at ryan.dilloncapps@ohanagp.com to which I attached copies of the Plaintiff's Complaint,
Motion for Temporary Restraining Order and Preliminary Injunction, Memorandum of Law in
support of that motion and proposed Temporary Restraining Order, and in which I advised
Defendant of Plaintiff’s intention to seek immediate action from the Court on Plaintiff’s Motion
for a Temporary Restraining Order. I further advised Defendant that I would subsequently transmit
the same documents to the Chambers of the Hon. Michael J. Finifter with a request for a hearing
on the Motion.

June 14, 2024 Respectfully submitted,

/s/ Robert §. Brennen

RDC was not allowed to use or access that email Robert S. Brennen (AIS # 8712010068)
address on June 13 when suspended. Law Firm and e-mail: RBrennen@milestockbridge.com
Employer had and had used RDC's personal email and Stephen D. Frenkil (AIS # 7712010110)
mobile previously. e-mail: SFrenkil@milesstockbridge.com

Victoria K. Hoffberger (AIS # 1912170195)
e-mail: VHoffberger@milesstockbridge.com
MILES & STOCKBRIDGE P.C.

100 Light Street

Baltimore, Maryland 21202

. Ruling Record Summary # 2 of 70 EXHIBIT 104

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OHANA GROWTH PARTNERS, LLC IN THE

Plaintiff. CIRCUIT COURT
VS. FOR
RYAN DILLON-CAPPS BALTIMORE COUNTY

Defendant. FILE NO.: ©-03-CV-24-002264

[Proposed]
TEMPORARY RESTRAINING ORDER

Upon consideration of the Motion for Temporary Restraining Order and Preliminary
Injunction, as well as the Memorandum and the Affidavits in support thereof (collectively the
“TRO Motion”) filed by Plaintiff, Ohana Growth Partners, LLC. (Plaintiff? or “Ohana’”), any
response thereto, and a hearing thereon, itis, on this __ day of June, 2024, hereby,

ORDERED, that the TRO Motion be, and the same hereby is, GRANTED for the reasons

set forth therein and based on the following findings:

e The requested TRO is necessary: (i) to prevent imminent and irreparable harm to
Ohana, for which there are no adequate remedies at law and (ii) to maintain the
status quo until a full adversarial hearing on Ohana’s concurrent Motion for a
Preliminary Injunction;

e Ohana is likely to succeed on the merits of its claims against Ryan Dillon-Capps
(“Dillon-Capps”);

e The irreparable harm that would befall Ohana absent the requested TRO would far
outweigh any potential harm to the Defendant should the injunction be granted;

e Entry of this TRO serves the public interest in enforcing valid contracts.

AND IT IS FURTHER ORDERED, that;

l. Pursuant to Maryland Rules 15-502 and 15-504, Defendant Ryan Dillon-Capps ts

temporarily restrained and hereby ORDERED to:

. Ruling Record Summary # 3 of 70 EXHIBIT 104
. Ruling Record Summary # 4 of 70

Case 1:24-cv-03744-BAH Document16-5 Filed 01/03/25 Page 4of 70

Orders Conflicted - Either RDC can provide access OR they can cease and desist use and
any access.

A. Provide Global Administrative Rights for Ohana’s Microsoft 365 Account to Phil
Leadore of Hartman Executive Advisors and cease and desist the use of any of access
to or use of Ohana’s Microsoft 365 Account and related applications, including
Ohana’s email systems.

B. Provide Administrative Rights for Ohana’s GoDaddy Account to Phil Leadore of
Hartman Executive Advisors and cease and desist the use of any of access to or use of
Ohana’s GoDaddy Account and related Internet domain name registrations.

Zs Pursuant to Maryland Rule 15-503, to secure the payment of any potential damages
to Defendant as a result of this temporary restraining order (“TRO”), Plaintiff shall post a bond

$ 1.00 (one dolled .
This ‘TRO will not take effect until the

with this Court in the nominal amount of $
bond is posted.

3 This TRO shall remain in effect for ten (10) days from the date hereof, unless
extended for an additional period of no more than ten (10) days or such longer period should the
Defendant consent thereto.

4. The Defendant or any other person affected by this TRO may move to dissolve or
modify this TRO on two (2) days’ notice to Plaintiff.

5 The Clerk of Court is instructed to promptly place a copy of this TRO on the Court’s

MDEC filing system so that all parties, by and through their respective counsel, receive notice of

this TRO. |No Notice Ex ParteTRO |
. 17th 19.5
ITISSO ORDERED this" day of June 2024 at a. ‘m. Mo. m.

Mose © Srpuy.

Judge, Circuit Court for a mor County,
Maryland

Entered: Clerk, Circuit Court for
Baltimore County, MD
June 17, 2024

EXHIBIT 104

Case 1:24-cv-03744-BAH Document16-5 Filed 01/03/25 Page 5 of 70
E-FILED; Baltimore County Circuit Court

2 Docket: 6/18/2024 3:08 PM; Submission: 6/18/2024 3:08 PM

Envelope: 16887656
AFFIDAVIT OF PROCESS SERVER

Circuit Court for Baltimore County, Maryland

Ohana Growth Partners, LLC Attorney: **####*
Plaintiff(s), Miles & Stockbridge P.C.
vs 100 Light Street
, Baltimore MD 21202
Defendant(s).

#315135«

Case Number: C-03-CV-24-002264

Legal documents received by Same Day Process Service, Inc. on 06/14/2024 at 1:54 PM to be served upon Ryan
Dillon-Capps at 1334 Maple Avenue, Essex, MD 21221

I, Rodney Getlan, swear and affirm that on June 17, 2024 at 11:24 AM, I did the following:

Personally Served Ryan Dillon-Capps the person listed as the intended recipient of the legal document with this Writ
of Summons (issued on 06/14/2024); Civil - Non-Domestic Case Information Sheet; Complaint; Plaintiff's Motion
for Temporary Restraining Order and Preliminary Injunction; Memorandum in Support of Ohana Growth
Partners' Motion for Temporary Restraining Order and Preliminary Injunction; Exhibits; Temporary
Restraining Order; Certificate of Notice Regarding Motion for Temporary Restraining Order at 1334 Maple
Avenue, Essex, MD 21221.

Description of Person Accepting Service:
Sex: Male Age: 43 Height: 5ft4in-Sft8in Weight: Over 200 Ibs Skin Color: Caucasian Hair Color: Black

Supplemental Data Appropriate to this Service:

I declare under penalty of perjury that the foregoing information contained in this affidavit is true and correct and that |
am a professional process server over the age of 18 and have no interest in the above legal matter.

Internal Job
Rodney Getlan 1D:318135
Process Server ,

Same Day Process Service, Inc.
1413 K St., NW, 7th Floor
Washington DC 20005
(202)-398-4200
info@samedayprocess.com

. Ruling Record Summary # 5 of 70 EXHIBIT 104

Case 1:24-cv-03744-BAH Document16-5 Filed 01/03/25 Page 6 of 70

OHANA GROWTH PARTNERS, LLC

Plaintiff,
VS.
RYAN DILLON-CAPPS
Defendant.

AJHADD JYOWLLTVE
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Sie Hd LI HAP 4202
CIRCUIT COURT
JAT4 OHV O4AISI Re

IN THE

FOR
BALTIMORE COUNTY

FILE NO.: C-03-CV-24-002264

LINE REGARDING POSTING OF $1.00 CASH BOND
IN CONNECTION WITH TEMPORARY RESTRAINING ORDER

Plaintiff, Ohana Growth Partners, LLC, through its attommeys, contemporaneous with the

filing of this Line, has paid into the Clerk’s Office One Dollar ($1.00) as required by the

Temporary Restraining Order entered by the Court at 10:50 a.m. on June 17, 2024.

June 17, 2024

119447\000002\4879-1499-4888.v1

. Ruling Record Summary # 6 of 70

Respectfully submitted,

/s/ Robert S. Brennen

Robert S. Brennen (AIS # 8712010068)

e-mail: RBrennen@milestockbridge.com

Stephen D. Frenkil (AIS # 7712010110)
e-mail: SFrenkil@milesstockbridge.com

Victoria K. Hoffberger (AIS # 1912170195)
e-mail: VHoffberger@milesstockbridge.com

MILES & STOCKBRIDGE P.C.
100 Light Street

Baltimore, Maryland 21202
Telephone: (410) 727-6464
Facsimile: (410) 385-3700

Counsel for Plaintiff Ohana Growth —
Partners, LLC

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CIRCUIT COURT FOR BALTIMOREDGEREING¥7/2024 3:4 Pm: Subineion: 6/17/2024 3:41 PM

MARYLAND Envelope: 16870699
401 Bosley Avenue, P.O. Box 6754, Towson, MD, 21285-6754

To: ROBERT SCOTT BRENNEN
MILES & STOCKBRIDGE, P.C.
100 LIGHT STREET
BALTIMORE, MD 21202-1487

Case Number: C-03-CV-24-002264
Other Reference Number(s):

OHANA GROWTH PARTNERS, LLC VS. RYAN DILLON-CAPPS
Date: 6/17/2024

NOTICE OF HEARING/TRIAL

Please be advised that the following events have been scheduled in this case:

Date Time Type of Proceeding
June 26, 2024 09:00AM Hearing - Injunction

Remarks: 2 HOURS PRELIMINARY INJUNCTION

Any postponement request must be filed in accordance with MD Rule 2-508 and addressed to the court address above.

Attorneys/parties shall notify this court immediately when a case settles before a scheduled event.

CC-008 (Rev. 08/2012) Page 1 of 1 6/17/2024 3:36 PM

. Ruling Record Summary # 7 of 70 EXHIBIT 104

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4 + Docket: 6/21/2024 12:23 PM; Submission: 6/21/2024 12:23 PM
Envelope: 16928345

77

Re: Case No. C-03-CV-244-002264 ss
Baltimore County Circuit Court Cs
TRO and Preliminary Injunction :
Ohana Growth Partners

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nd

Dear Judge, _ < < Ko
b& drutle¢

I am writing to bring to your attention urgent matters concerning my current legal situation and
request immediate judicial intervention regarding a Temporary Restraining Order (TRO) and
Preliminary Injunction that conflicts with legal and compliance obligations.

I have been dealing with significant issues related to my employment with Ohana Growth
Partners. which have been exacerbated by recent events. I had secured three strong referrals for
legal assistance, but they conflicted. I was starting the process to work with the fourth referral,
but I found out at midnight that they couldn’t help me due to a family bereavement and a pre-
scheduled conference. Consequently, they refunded my retainer, leaving me without legal
representation at a critical time.

Sor ee

Currently, 1. L am. n facing a situation where compliance, withyth the TRO and:

I real this demand at about a quarter to 11, which eventually led me to write this letter and ust
to the courthouse.

On June 13, 2024, at 7:12 AM, I notified the CFO, Head of HR, and President of Ohana Growth
Partners that I was commencing my FMLA leave due to PTSD. My FMLA status was last
confirmed and validated by the HR Generalist on May 23, 2024. Despite this, at 9:01 AM on the
same day, I received a demand letter requiring me to return to work and I had 6 hours to do it---
or else. In response, | issued a cease and desist letter, which is included in petitioner Exhibit B,
clarifying that the cease and desist pertained to my right to FMLA leave.

The basis for my suspension, as claimed by my employer, consists of two parts:

1. They misconstrued my cease and desist letter as a refusal to comply with work demands,

despite its clear reference to FMLA leave.

2. They demanded that I grant Global Administrator access, which would be a violation of

PCI compliance. The company failed to inform the court of this crucial compliance issue
and the proactive measures | had taken to grant access to the President under PCI
compliance guidelines.

|

I have over 25 years of experience in IT and am responsible for ensuring PCI compliance within
the organization. Granting Global Administrator access without ensuring compliance would be a
serious violation of these standards. Despite providing several alternatives and options to my

. Ruling Record Summary # 8 of 70 EXHIBIT 104

Case 1:24-cv-03744-BAH Document16-5 Filed 01/03/25 Page 9 of 70
\
employer, they have persisted in demanding actions that would compromise compliance and
security. :

Furthermore, the company has engaged in retaliatory actions, including placing my IT
Coordinator on administrative leave shortly after receiving the cease and desist letter. This

retaliation appears to be in direct response to my assertion of FMLA rights.

~Due to these pressing issues and the sudden unavailability of my legal counsel, lam seeking
immediate judicial relief to address the following:

1. Clarification and potential modification of the TRO and Preliminary Injunction to ensure
compliance with PCI standards without subjecting me to contempt of court.

2. Protection against retaliation for exercising my FMLA rights. h

3. Adequate time to secure new legal represefitation to address these urge

|

All supporting documentation and communications are available to substantale my claims. I

printed out as many as I could before rushing over here today.

t matters.

Thank you for your prompt attention to this matter.

|

vy l ‘ "gp" & , . : \
With gratitude and eciation, .% . Poy dhe phe th
Ryan Wagner %e Ye og | “4
ryan@mxt3.com |
1334 Maple Ave
Essex MD
21221

- DENIED VU

The court has reviewed the Defendant's correspondence and will view it as a
request, pursuant to Md. Rule 15-504(f) to dissolve or modify the 6.17.2014 TRO.
The correspondence doés not provide sufficient specificity to permit the court to
modify the TRO at this time. The court will consider the Defendant's requests at |
the hearing scheduled for 6.26.2024.

| —Y. 06/21/2024 11:40:18 AM
Judge Keit ar SO

Entered: Clerk, Circuit Court for .
Baltimore County, MD !
June 21, 2024

. Ruling Record Summary # 9 of 70 . EXHIBIT 104

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OHANA GROWTH PARTNERS, LLC IN THE

Plaintiff, | CIRCUIT COURT

VS. FOR

RYAN DILLON-CAPPS BALTIMORE COUNTY
Defendant. FILE NO.: C-03-CV-24-002264

ORDER TO APPEAR AND SHOW CAUSE

Upon consideration of Ohana’s Petition for Show Cause Order and Constructive Civil
Contempt, and for good cause shown, itis this 21st of June, 2024

ORDERED that the Petition be, and hereby is, GRANTED; and it is further

ORDERED that Ohana shall appear before the Circuit Court for Baltimore County,
Maryland on the 26th day of June, 2024, at 9 am. for a hearing at which Ryan Dillon-
Capps shall show cause why they should not be held in contempt of this Court’s June 17, 2024

Temporary Restraining Order.

ao —~. R. Truffer aoe TN

Entered: Clerk, Circuit Court for
Baltimore County, MD
June 21, 2024

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. Ruling Record Summary # 10 of 70 EXHIBIT 104

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Envelope: 17007198

OHANA GROWTH PARTNERS, LLC IN THE
Plaintiff, CIRCUIT COURT

VS. FOR

RYAN DILLON-CAPPS BALTIMORE COUNTY
Defendant. FILE NO.: C-03-CV-24-002264

[PROPOSED] ORDER GRANTING PRELIMIARY INJUNCTION

Upon consideration of the Motion for Preliminary Injunction and the Memorandum in
Support thereof, along with any opposition filed thereto, it is this 26" day of June, 2024, at 2:15
p.m., by the Circuit Court for Baltimore County, hereby determined that Plaintiff has shown a
likelihood that it will succeed on its claims that are pertinent to the relief granted in this Preliminary
Injunction.

It is further determined that Plaintiff has shown that the balance of harms to it as compared
to the harms to Defendant if this Preliminary Injunction were or were not issued favors the issuance
of this Preliminary Injunction.

It is further determined that Plaintiff has shown that it will suffer irreparable harm if this
Preliminary Injunction is not issued.

It is further determined that Plaintiff has shown that issuance of this Preliminary Injunction
is in the public interest.

It is therefore determined that Plaintiff, following a full adversary hearing, has satisfied the
requirements for entry of this Preliminary Injunction on the relief sought; and it is therefore

ORDERED that the Motion for Preliminary Injunction filed by Plaintiff is GRANTED;

and it is further

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. Ruling Record Summary # 11 of 70 EXHIBIT 104

Case 1:24-cv-03744-BAH Document 16-5 Filed 01/03/25 Page 12 of 70

ORDERED that Defendant create an account in Ohana’s Microsoft 365 tenant (Tenant ID:

12be282d-af65-44c5-9b03-ca46dc2f46ee) for rromes!(@ohanayp.com; and that Microsoft

Corporation create an account in Ohana’s Microsoft 365 tenant (Tenant ID: 12be282d-af65-44c5-

9b03-ca46dc2f46ee) for rromes2(@ohanagp.com; and it is further

ORDERED that Defendant grant the rromes!(@ohanagp.com account the role of Global

Administrator in Ohana’s Microsoft 365 tenant (Tenant ID: 12be282d-af65-44c5-9b03-

ca46dc2f46ee) and send the password for the rromes!@ohanagp.com account to

randy.romes{@ claconnect.com via a secure email. If Defendant does not have access to send a

secure email, Defendant shall send the password for the rromes | (@ohanayp.com account to Robert

Brennen, counsel for Ohana, via text message at 443-956-6458; and that Microsoft Corporation

grant the rromes2¢0ohanagp.com account the role of Global Administrator in Ohana’s Microsoft

365 tenant (Tenant ID: 12be282d-af65-44c5-9b03-ca46dc2f46ee) and send the password for the

rromes2(Wohanagp.com account to randy.romes(@claconnect.com via a secure email; and it is

further

ORDERED that Defendant grant the rromes|(@ohanagp.com account the role of Global

Administrator for all Azure subscription plans associated with Ohana’s Microsoft 365 tenant
(Tenant ID: 12be282d-af65-44c5-9b03-ca46dc2f4Gee); and that Microsoft Corporation grant the

rromes2 @/ohanagp.com account the role of Global Administrator for all Azure subscription plans

associated with Ohana’s Microsoft 365 tenant (Tenant ID: 12be282d-af65-44c5-9b03-
ca46dc2f46ee); and it is further

ORDERED that Defendant deliver to Robert Brennen, counsel for Ohana, any key fob,
token, or equivalent device required for multifactor authentication for the

rromes|(@ohanagp.com account; and it is further

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. Ruling Record Summary # 12 of 70 EXHIBIT 104

Case 1:24-cv-03744-BAH Document 16-5 Filed 01/03/25 Page 13 of 70

ORDERED that Defendant provide the root level administrator account password to the

Ohana GoDaddy Account to randy.romes(@claconnect.com via a secure email. If Defendant does

not have access to send a secure email, Defendant shall send the password to Robert Brennen,
counsel for Ohana, via text message at 443-956-6458; and it is further

ORDERED that once Defendant has (i) created the rromes! @ohanagp.com account in

Ohana’s Microsoft 365 tenant (Tenant ID: 12be282d-af65-44c5-9b03-ca46dc2f46ee): (11) granted

the rromes|!(@ohanagp.com account the role of Global Administrator in Ohana’s Microsoft 365

tenant (Tenant ID: 12be282d-af65-44c5-9b03-ca46dc2f46ee); (iii) transmitted the password for

the rromes|](2ohanagp.com account to either randy.romes(claconnect.com or to Mr. Brennen;

(iv) granted the rromes|@ohanagp.com account the role of Global Administrator for rall Azure

subscription plans associated ranwith Ohana’s Microsoft 365 tenant (Tenant ID: 12be282d-af65-
44c5-9b03-ca46dc2f46ee); (v) delivered the key fob, token, or equivalent device required for

multifactor authentication for the rromes|(@ohanagp.com account to Mr. Brennen and (v1)

provided the root level administrator account password to the Ohana GoDaddy Account to

randy. romes(@claconnect.com or Mr. Brennen, Defendant must refrain from accessing and/or
making configuration changes to the Ohana Microsoft 365 Account and/or the Ohana GoDaddy
Account; and it is further
ORDERED that the bond requirement of Maryland Rule 15-503(c) is waived based upon
the particular circumstances of this Preliminary Injunction; and it is further
ORDERED that the Defendant shall expeditiously and without delay comply with the
requirements of this Order. Subject to any further Order of the Court, the Defendant shall fully

comply with the terms of this Order no later than 1:00 p.m. EDT on June 27, 2024; and it is further

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. Ruling Record Summary # 13 of 70 EXHIBIT 104

Case 1:24-cv-03744-BAH Document 16-5 Filed 01/03/25 Page 14 of 70

ORDERED that this Preliminary Injunction shall be binding immediately upon receipt of

actual notice of this Preliminary Injunction by any means.

Wry | fh. canara
How. Midtiael S. Barranco, JUDGE,

Circuit Court for Baltimore County, Maryland

Michael S. Barranco

Copies to:
06/26/2024 2:13:24 PM

Ryan Dillon-Capps (via email to ryan(@@mxt3.com)
Robert 8. Brennen (via MDEC and email to rbrennen@emilesstockbridge.com)

Entered: Clerk, Circuit Court for
Baltimore County, MD

June 27, 2024

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. Ruling Record Summary # 14 of 70 EXHIBIT 104

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Docket: 6/27/2024 3:21 PM; Submission: 6/27/2024 3:21 PM
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OHANA GROWTH PARTNERS, LLC | IN THE
Plaintiff, . CIRCUIT COURT
vs. FOR
RYAN DILLON-CAPPS BALTIMORE COUNTY
Defendant. FILE NO.: C-03-CV-24-002264
PROPOSED

ORDER HOLDING DEFENDANT IN CONSTRUCTIVE CIVIL CONTEMPT

Upon consideration of Plaintiff Ohana Growth Partners, LLC’s (“Ohana”) Petition for -

Civil Contempt (no incarceration sought), and any Opposition thereto; and having provided the

parties an opportunity to be heard in open Court on June 26 and 27, 2024, the Court finds that:

1.

Defendant Ryan Dillon-Capps received actual notice of the Court’s June 17, 2024
Temporary Restraining Order (the “TRO”) on the evening of June 17, 2024;

In Defendant’s June 18, 2024 correspondence to the Court Defendant acknowledged
receipt and actual notice of the TRO, as well as the fact that Defendant had not
complied with the TRO as of the submission.of that correspondence;

. The Court’s June 21, 2024 Order to Appear and Show Cause, directing Defendant to

appear before the Court on June 26, 2024 at 9 a.m. and show cause why Defendant
should not be held in Contempt of the TRO was transmitted by Lauren Prinkey, Judicial
Assistant to the Hon. Keith R. Truffer, to Defendant at ryan@mxt3.com at 12:04 p.m.
on June 21, 2024, and again by Plaintiff's counsel to Defendant at ryan@mxt3.com
vhat 6:59 p.m. on June 24, 2024;

Defendant acknowledged under oath in open Court during a hearing held June 26, 2024
that Defendant was aware of the terms of the TRO and had not complied with the TRO;

. On June 26, 2024 at 2:15 p.m. the Court entered an Order Granting Preliminary

Injunction (“Preliminary Injunction”) in which Defendant was Ordered to take
substantially the same action as Ordered by the TRO;

Defendant acknowledged under oath and in open Court during a hearing held June 27,
2024 that Defendant had not complied with the TRO or the Preliminary Injunction;

Defendant’s failure to comply with and contempt of the TRO has been knowing and
willful;

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. Ruling Record Summary # 15 of 70

EXHIBIT 104
Case 1:24-cv-03744-BAH Document 16-5 Filed 01/03/25 Page 16 of 70

8. Imposition of appropriate sanctions is necessary to coerce Defendant to cure
Defendant’s contempt by complying with the TRO

Ley

THEREFORE, it is this 27" day of June, 2024, at___ p.m. hereby:

ORDERED, that Plaintiffs Petition for Constructive Civil Contempt is hereby
GRANTED, and it is further

ORDERED, that Defendant Ryan Dillon-Capps be and the same hereby is found to be in
constructive civil contempt of the Court’s June 17, 2024 Temporary Restraining Order; and it is
further

ORDERED, that for every 24 hour period that passes after the date and time of this Order
without Defendants’ full compliance with the Preliminary Injunction Defendant shall pay $2,500
to Plaintiff; and it is further

ORDERED, that Defendant may purge Defendant’s contempt by complying with the
directions of the Preliminary Injunction; and it is further

ORDERED, that nothing herein shall prejudice Plaintiffs right to seck Defendant's
incarceration pursuant to MD Rule 15-206 based upon Defendant’s continued constructive civil
contempt, nor the authority of the Court or the State’s Attorney for Baltimore County to initiate

constructive criminal contempt proceedings pursuant to MD Rule 15-205.

There never was any refusal, and =———__ ew.

this is an unlawful TRO.

Hon. Michael S. Barranco, JUDGE, _
Circuit Court for Baltimore County, Maryland

Copies to:

Ryan Dillon-Capps (via email to ryan@mxt3.com)
Robert S$. Brennen (via MDEC and email to rbrennen(@milesstockbridge.com)

Entered: Clerk, Circuit Court for
Baltimore County, MD
2 June 27, 2024

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. Ruling Record Summary # 16 of 70 EXHIBIT 104

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Entered: Clerk, Circuit Court for

OHANA GROWTH PARTNERS, LLC | IN THE Baltimore County, MD
July 8, 2024
Plaintiff. | CIRCUIT COURT
Vs. FOR
RYAN DILLON-CAPPS BALTIMORE COUNTY
Defendant. _ CASE NO.: C-03-CV-24-002264

ORDER TO APPEAR AND SHOW CAUSE

Upon consideration of Ohana’s Petition for Show Cause Order and Constructive Civil
Contempt (the “Petition”), and for good cause shown, it is this _ 0770 8/2024 , 2024,
hereby:

ORDERED that the Petition be, and hereby is, GRANTED; and it is further

ORDERED that any Answer that Defendant Ryan Dillon-Capps intends to submit in
response to the Petition shall be filed within ten (10) days of the service upon Defendant of this
Order and the Petition in accordance with Rule 15-206(d); and it is further

ORDERED that Defendant Ryan Dillon-Capps shall appear before the Circuit Court for
Baltimore County, Marylandon August 7, 2024, a14:00PM _ forahearing at which
Defendant Ryan Dillon-Capps shall show cause why they should not be held in contempt of this

Court’s June 26, 2024 Preliminary Injunction and incarcerated until such time as Defendant

complies with the Preliminary Injunction, provided that a copy of this Order has been
personally served on Defendant by July 24,
2024. A

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Judge, Circuit Court for Baltimore County

Michael S. Barranco
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. Ruling Record Summary # 17 of 70 EXHIBIT 104

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OHANA GROWTH PARTNERS, LLC IN THE

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L) Baltimore Te &6t E-FILED; Baltimore County Circuit Court

Plaintiff, CIRCUIT COURT

FOR
vs.

BALTIMORE COUNTY

RYAN DILLON-CAPPS

CASE NO: C-03-CV-24-002264
Defendant.

MOTION FOR EXTENSION OF TIME

Defendant Ryan Dillon-Capps, appearing Pro Se, respectfully requests this Honorable
Court to consider its Motion for Extension of Time pursuant to Md. R. Spec. Proc.
15-206 and Md. Gen. Provi. 1-203(d). In support of this motion, Defendant states
as follows:

I. Introduction

1. June 13, 2024: Defendant Ryan Dillon-Capps is suspended from employment with
Ohana Growth Partners, LLC, without pay and denied access to all company systems and
facilities.

2. June 14, 2024: Plaintiff files a complaint along with the motion for TRO and preliminary
injunction. Plaintiffs list the defendant’s contact information as the email address they
prohibited him from accessing.

3. June 17, 2024: In the morning, the Court issues a Temporary Restraining Order (TRO)
requiring the Defendant to provide administrative nghts and passwords for Ohana's
Microsoft 365 and GoDaddy accounts. Later that day, the Defendant is served, and that
evening, the Plaintiff's attorney informs them that the TRO is already in effect.

4. Midnight between June 17 and June 18, 2024: The defendant’s attorney withdraws
from representation due to a family bereavement and scheduling conflicts.

5. June 18, 2024: Plaintiff notified Defendant they were moving forward with contempt in
3 hours, and Defendant submitted a letter to the civil clerk that was misinterpreted as a
motion to dissolve or modify the TRO, and the supporting evidence was omitted.

6. June 21, 2024: The Court issues a Notice to Show Cause requiring the Defendant to
appear and show cause on June 26, 2024, why he should not be held in contempt for
allegedly violating the TRO.

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. Ruling Record Summary # 18 of 70 EXHIBIT 104

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Defendant claims counsel Hnexpeceay resigned from case, Envelope: 17290528
yet record reflects no counsel ever entered appearance to represent Defendant.

No assertion that Defendant sought consent of opposing counsel to request.
OHANA GROWTH PARTNERS, LLC IN THE

Misrepresentation of argument &
did not address all arguments

Plaintiff, CIRCUIT COURT 07/22/2024 8:15:59 AM

FOR
VS.

BALTIMORE COUNTY

RYAN DILLON-CAPPS

CASE NO: C-03-CV-24-002264
Defendant.

Request for Clarification on Denied Motion for Extension of Time

I. Introduction

Defendant Ryan Dillon-Capps, appearing Pro Se, respectfully requests this Honorable
Court to provide clarification regarding the denial of Defendant's Motion for
Extension of Time filed on July 8, 2024. The Order denying the Motion did not include
specific reasons for the denial. Additionally, Defendant had filed a Notice of Filing
requesting that this Motion be reviewed together with other related motions.

II. Factual Background
Motion Filed:

On July 8, 2024, Defendant filed a Motion for Extension of Time, requesting an extension of
deadlines due to the sudden withdrawal of Defendant's attorney and other procedural issues.

Notice of Filing:

On the same date, Defendant filed a Notice of Filing requesting that the Motion for
Extension of Time be reviewed in conjunction with other motions, including the Motion to
Reconsider Denial of Continuance, Motion to Strike Referenced Evidence, and Motion
to Strike Exhibit B from the Affidavit of Richard Hartman.

Order Denied:
The Court issued an Order denying the Motion for Extension of Time, but no specific

reasons were provided for the denial. Both the Motion and the Notice of Filing were
submitted together in the same docket submission.

Entered: Clerk, Circuit Court for
Baltimore County, MD 1of 4
July 22, 2024

. Ruling Record Summary # 19 of 70 EXHIBIT 104

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OHANA GROWTH PARTNERS, LLC | IN THE
Plaintiff CIRCUIT COURT

FOR
VS.

BALTIMORE COUNTY

RYAN DILLON-CAPPS
CASE NO: C-03-CV-24-002264

Defendant.

Motion to Strike Referenced Evidence

Defendant Ryan Dillon-Capps, appearing Pro Se, respectfully requests this Honorable
Court to consider its Motion to Strike Referenced Evidence. In support of this
motion, Defendant states as follows:

I. Introduction

The URL provided by the Plaintiff was improperly formatted and could result in a 404 Error
page, which we have previously submitted as Exhibit 6A. Upon further investigation, we were
able to determine the issue and locate the intended page cited by the Plaintiff. Exhibit 6D is a
dated and URL-marked copy of this page, which shows the complete context and language of
the Plaintiff's leading technical citation, providing the basis for their technical claims.

II. Factual Background

Affidavit of Richard Hartman (page 2, section 11), Ohana Growth Partners
Complaint (page 3, section 13), and Memorandum in Support of Ohana Growth
Partners’ Motion for Temporary Restraining Order and Preliminary Injunction (page
3, section 2)

The referenced documents collectively state:

“Global Admin” rights to the Ohana MS 365 Account allow “almost unlimited access to
[Ohana’s] settings and most of its data.” Because “[a] Global Admin may inadvertently
lock their account and require a password reset, ... recommend[s] [Ohana] have at least

Entered: Clerk, Circuit Court for lof 5
Baltimore County, MD D E N E D thie
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. Ruling Record Summary # 20 of 70 EXHIBIT 104

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OHANA GROWTH PARTNERS, LLC IN THE

Plaintiff, CIRCUIT COURT
Vs. FOR
RYAN DILLON-CAPPS | BALTIMORE COUNTY
Defendant. | CASE NO.: C-03-CV-24-002264
ORDER DENYING MOTION TO een eee B FROM THE AFFIDAVIT OF
RICHARD HARTMAN

Upon consideration of Defendant Ryan Dillon-Capps’ Motion to Strike Exhibit B From
The Affidavit of Richard Hartman (the “Motion”) and Plaintiff Ohana Growth Partners, LLC’s
07/30/2024

Opposition thereto, it is this day of , 2024, hereby:

ORDERED that the Motion be, and here by is DENIED.

fea

Judge, Circuit Court for Baltimore County

Entered: Clerk, Circuit Court for
Baltimore County, MD

August 2, 2024

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. Ruling Record Summary # 21 of 70 EXHIBIT 104

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OHANA GROWTH PARTNERS, LLC | IN THE
Plaintiff, CIRCUIT COURT
VS. FOR
RYAN DILLON-CAPPS BALTIMORE COUNTY
Defendant.
CASE NO: C-03-CV-24-002264

|
|

MOTION TO AMEND STRIKE
REFERENCED EVIDENCE

14 Defendant Ryan Dillon-Capps, appearing Pro Se, respectfully requests this Honorable
Court to grant their Motion to Amend filed Motion to Strike Referenced Evidence. In
support of this motion, Defendant states as follows:

I. INTRODUCTION

15 Defendant seeks to amend the previously filed Motion to Strike Referenced Evidence to
include an additional legal basis for striking the referenced evidence, specifically the
inadmissibility of hyperlinks under Md. Rule 20-301(b), and to correct the structure and
language to align with the procedural rules of the Maryland court.

16 The Defendant has included a hereto copy of the updated MOTION TO STRIKE
REFERENCED EVIDENCE as Exhibit 8P-2.

The court has considered and denied the Amended Motion to Strike.

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August 9, 2024

. Ruling Record Summary #22 of 70 pat Sminger EXHIBIT 104

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OHANA GROWTH PARTNERS, LLC | IN THE
Plaintiff, CIRCULT COURT
VS. FOR
RYAN DILLON-CAPPS BALTIMORE COUNTY
Defendant.
CASE NO: C-03-CV-24-002264

MOTION TO STRIKEREFERENCED
EVIDENCE

13 Defendant Ryan Dillon-Capps, appearing Pro Se, respectfully requests this Honorable
Court to grant their Motion to Strike Referenced Evidence. In support of this motion,
Defendant states as follows:

I. INTRODUCTION

14 Defendant seeks to strike improperly cited evidence by the Plaintiff, specifically URLs
and excerpts from Microsoft’s documentation. These URLs were improperly formatted
and resulted in a 404 Error page, as shown in Exhibit 6A. Upon further investigation,
Defendant located the intended page cited by the Plaintiff, marked as Exhibit 6D. This
exhibit demonstrates that the Plaintiff's technical citation actually supports the opposite of
their claims. Additionally, hyperlinks to webpages are not part of the court record and
thus should be stricken to prevent prejudice against the Defendant.

DENIED

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Baltimore County, MD

Pat Stringer Aug ust 9, 2024
. Ruling Record Summary # 23 of 70 EXHIBIT 104

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401 Bosley Avenue, P.O. Box 6754, Towson, MD, 21285-6754 Envelope: 17708311
Main: 410-887-2601

Case Number: C-03-CV-24-002264
Other Reference Number(s):
OHANA GROWTH PARTNERS, LLC VS. RYAN DILLON-CAPPS

ORDER OF DEFAULT

The Court enters an Order of Default against Ryan Dillon-Capps for

failure to file a responsive pleading to: Complaint

Name of complaint/petition/motion

and orders that testimony to support the allegations of the compliant to be taken before

[] oneofthejudgesor []_ magistrate of the court.

08/20/2024 2:54:39 PM

Entered: Clerk, Circuit Court for

Baltimore County, MD

August 21, 2024 D /| i f
ate u

Andrew M. Battista

IMPORTANT: Person obtaining Order of Default must contact the Clerk’s Office at

(410) 887-2660 for further instructions to schedule a hearing.
Telephone

Premature, granted the same day without testimony.
Vacated because RDC had others involved, but they didn't
stop anything except the vacate.

CC-DR-054JO (Rev. 01/2020) Page 1of 1 8/20/2024 2:37 PM

. Ruling Record Summary # 24 of 70 EXHIBIT 104

Case 1:24-cv-03744-BAH Document 16-5 Filed 01/03/25 Page 25 of 70

CIRCUIT COURT FOR BALTIMORE COUNTY, Main: 410-887-2601
MARYLAND
401 Bosley Avenue, P.O. Box 6754, Towson, MD, 21285-6754

To: RYAN DILLON-CAPPS
1334 MAPLE AVENUE
ESSEX, MD 21221

Case Number: C-03-CV-24-002264
Other Reference Number(s):

OHANA GROWTH PARTNERS, LLC VS. RYAN DILLON-CAPPS
Date: 8/21/2024

NOTICE OF DEFAULT ORDER

You are hereby notified that on 08/21/2024, an Order of Default was entered against you in the above-entitled
case.

You may move to vacate the Order of Default within (30) days of the entry of this Order. The Motion to Vacate
shall state the reasons for the failure to plead, as well as the legal and factual basis for the defense to the claim.

qe K. In Sor

Julie L. Ensor
Clerk of the Circuit Court

cc: Victoria Klein

CC-CV-008 (Rev. 12/2011) Page 1 of 1 8/21/2024 12:41 PM

. Ruling Record Summary # 25 of 70 EXHIBIT 104

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“OHANA GROWTH PARTNERS, LLC IN THE
Plaintiff, CIRCUIT COURT
VS. FOR
RYAN DILLON-CAPPS BALTIMORE COUNTY
Defendant. CASE NO: C-03-CV-24-002264

MOTION TO VACATE SHOW CAUSE ORDER OF JUNE 21, 2024

1 Defendant Ryan Dillon-Capps, appearing Pro Se, respectfully moves this Honorable Court
vacate the Show Cause Order of June 21, 2024, and in support of this motion the Defendant
states the following:

LINTRODUCTION

2 This is an action brought forth by the Plaintiff's Petition to Show Cause on June 20, 2024,
misrepresenting legal principles, denial of prehearing conference for the Defendant, and
negligent time for the Defendant to prepare their defense. Resulting in additional prejudicial
harm against the Defendant and further harming the Defendant’s mental health and ability to
adequately defend themself.

I]. FACTUAL BACKGROUND

Summary

3 The Show Cause Order was issued on June 21, 2024, without providing Defendant sufficient
notice, an opportunity to be heard, and inadequate time to prepare a defense.

4 The lack of notice, opportunity to be heard, and time to prepare a defense constitutes a violation
of Defendant’s due process rights under the Fourteenth Amendment of the United States
Constitution and Article 24 of the Maryland Declaration of Rights.

5 The Show Cause Hearing began on June 26, 2024, and resulted in a per day fine equal to
25000% of the Defendant’s current average daily income (rounded up to the nearest penny).

Timeline

6 June 14: The Plaintiff files a complaint using the Defendant's work email address, which the
Defendant is prohibited from accessing. Despite having access to the Defendant's personal email
address and phone number, the Plaintiff and their Counsel chose not to use them.

Entered: Clerk, Circuit Court for
Baltimore County, MD
August 21, 2024

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. Ruling Record Summary # 26 of 70 EXHIBIT 104

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August 21, 2024

OHANA GROWTH PARTNERS, LLC | IN THE
Plaintiff CIRCUIT COURT

vs. FOR

RYAN DILLON-CAPPS rea ciwemeureooeTs
Defiucant. CASE NO: C-03-CV-24-002264

MOTION TO VACATE TEMPORARY RESTRAINING ORDER

l Defendant Ryan Dillon-Capps, appearing Pro Se, respectfully moves this Honorable Court
vacate the Temporary Restraining Order, and in support of this motion the Defendant states the

following:

INTRODUCTION

2 This legal action 1s initiated due to the ethical violations and misconduct by Ohana Growth
Partner, LLC, and Miles & Stockbridge, related to the improper procurement of a Temporary

Restraining Order (TRO).

3 Despite having accurate contact information for the defendant provided the Court an inaccessible
work email address, the Plaintiff used an invalid email address to fabricate attempts to notify the
defendant. The TRO was signed without proper ex parte duty fulfillment, as a result, the
defendant received no notice before the TRO hearing, causing their attorney to withdraw, and

forcing the defendant to proceed pro se, leading to ongoing prejudice and significant harm.

4 The defendants' actions have caused life-threatening harm and have severely impeded the
defendant's ability to mount an adequate defense, as the misleading information influenced the

Court's decision on the balance of harm, creating further prejudicial consequences. The Plaintiff

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. Ruling Record Summary # 27 of 70 EXHIBIT 104

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OHANA GROWTH PARTNERS, LLC IN THE
Plaintiff. CIRCUIT COURT
vs. FOR
RYAN DILLON-CAPPS BALTIMORE COUNTY
Defendant. CASE NO: C-03-CV-24-002264
{PROPOSED|

ORDER GRAT aa MOTION TO DISMISS FOR INSUFFICIENCY OF SERVICE

OF PROCESS

Upon consideration of the Defendant Ryan Dillon-Capps Order Granting Motion To Dismiss For
Insufficiency Of Service Of Process, and for good cause shown, it is this day of

, 2024, by the Circuit Court of Baltimore County;

ORDERED that the and hereby is, GRANTED, and it is further;

ORDERED that the Complaint filed by Plaintiff, Ohana Grow
DISMISSED

s, LLC, is hereby

D FE N | -- D Judge, Circuit Court for Baltimore County

aflige Entered: Clerk, Circuit Court for

Pat Stringer Baltimore County, MD

09/17/2024 September 17, 2024

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. Ruling Record Summary # 28 of 70 EXHIBIT 104

Case 1:24-cv-03744-BAH Document 16-5 Filed 01/03/25 Page 29 of 70
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OHANA GROWTH PARTNERS, LLC IN THE
Plaintiff CIRCUIT COURT

vs. FOR

RYAN DILLON-CAPPS BALTIMORE COUNTY
Defendant. CASE NO: C-03-CV-24-002264

MOTION TO VACATE THE ORDER OF DEFAULT

l Defendant Ryan Dillon-Capps, appearing pro se, respectfully submits the following for
the Court’s consideration.

2 The Defendant moves to vacate the order of default on the grounds that the order was
prematurely requested, and the opposition was filed on the same day. The opposition outlines the
legal basis for this premature request. Additionally, the same procedural irregularities have been
applied throughout the case, which was initiated under false pretenses by a law firm—Miles &
Stockbridge—having pre-existing and unresolved legal conflicts with the Defendant. Miles &
Stockbridge have demonstrated, through their actions—including fraud upon the court—that
they are personally invested and lack the ethical and legal impartiality required to represent
Ohana Growth Partners.

3 The affidavits of Justin Drummond and Richard Hartman, along with the memorandum
in support and the complaint, contain false statements that fail to establish a legitimate claim for
relief. This lawsuit is an abusive use of the judicial system with both Justin Drummond and
Richard Hartman committing perjury. Drummond is also in breach of contract with the

Defendant. Their filings demonstrate that their claims of harm are fabricated, with the only truth

Granted. Order of Default entered on 8/21/24 is hereby Vacated.
10/10/2024 Letgblape Entered: Clerk, Circuit Court for

Baltimore County, MD
Pat Stringer October 16, 2024

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. Ruling Record Summary # 29 of 70 EXHIBIT 104

Case 1:24-cv-03744-BAH Document 16-5 Filed 01/03/25 Page 30 of 70
E-FILED; Baltimore County Circuit Court
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OHANA GROWTH PARTNERS, LLC IN THE
Plaintiff, CIRCUIT COURT

VS. FOR

RYAN DILLON-CAPPS BALTIMORE COUNTY
Defendant. CASE NO: C-03-CV-24-002264

MOTION TO STRIKE PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO

VACATE ORDER OF DEFAULT

Defendant, Ryan Dillon-Capps, appearing as pro se respectfully moves this Honorable Court,
pursuant to Maryland Rule 2-322(e), to strike the Plaintiff's Opposition to Defendant’s Motion to

Vacate the Order of Default. In support of this motion, the Defendant states the following:

GROUNDS FOR THE MOTION

] The Plaintiffs Opposition is replete with inaccuracies, misrepresentations, and irrelevant
claims that fail to meet the legal standards required for opposition filings under Maryland law.
The opposition contains material that is not only factually incorrect but also legally irrelevant,
inflammatory, and improper. The Defendant seeks to strike these portions of the opposition to
preserve the integrity of the proceedings and prevent prejudice from false or misleading

allegations.

LEGAL STANDARD

2 Pursuant to Maryland Rule 2-322(e), a party may move to strike a pleading or portions

thereof if the pleading contains redundant, immaterial, impertinent, or scandalous matter. Courts

Motion is Moot. The court vacated the order of default by order dated 10/10/24.
Batinrecany Mo = TO/1 7/2024

‘ October 18, 2024
. Rulifg Record Summary # 30 of 70 Pat Stringer EKHIBIT 104

Case 1:24-cv-03744-BAH Document 16-5

Filed 01/03/25 Page 31 of 70

E-FILED; Baltimore County Circuit Court

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OHANA GROWTH PARTNERS, | IN THE
LLC CIRCUIT COURT
Plaintiff, FOR
VS. BALTIMORE COUNTY
RYAN DILLON-CAPPS CASE NO: C-03-CV-24-002264
Defendant.
MOTION FOR SANCTIONS

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IV. Justification for Sanctions in: This Case ysccccsccessisscaysrercaniercsaiaseiaycccrsesiivaveniieensiancsotraaiveninimenceuainiaseereenecaces 12
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Page 1 of 82

Entered: Clerk, Circuit Court for
Baltimore County, MD
October 22, 2024

. Ruling Record Summary # 31 of 70

10/21/2024

DENIED 2--f-..

Pat Stringer

EXHIBIT 104

Case 1:24-cv-03744-BAH Document16-5 Filed 01/03/25 Page 32 of 70
E-FILED; Baltimore County Circuit Court
° § Docket: 10/3/2024 1:01 PM; Submission: 10/3/2024 1:01 PM
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1. OHANA GROWTH PARTNERS, | 6, IN THE
LLC 7, CIRCUIT COURT
2. Plaintiff, 8. FOR
3. VS. 9, BALTIMORE COUNTY
4. RYAN DILLON-CAPPS 10.CASE NO: C-03-CV-24-
5. Defendant. | 002264
|

MOTION TO ADD COUNSEL OF RECORD

1 The Defendant, Ryan Dillon-Capps, respectfully requests that the Court order the
addition of the following attorneys as counsel of record in the above-captioned matter:

1. Holly Drumheller Butler
Miles & Stockbridge
100 Light Street
Baltimore MD 21203-1036
hbutler@milesstockbridge.com
410-385-3829

2. Steven D. Frenkil
Miles & Stockbridge
100 Light Street
Baltimore MD 21203-1036
sfrenkil@muilesstockbridge.com

410-385-3758

Why even write
something down?

2 In support of this motion, the Defendant states the following:

I HOLLY DRUMHELLER BUTLER

3 Holly Butler has been substantially involved in this case, representing the interests of the

Plaintiff before any formal filings were made. She did so through misrepresentation, failing to

inform the unrepresented Dillon-Capps that Ohana Growth Partners, her client, held an

Denied. Each party has a right to choose its own counsel. Paxe 1of'24

10/23/2024 Lethe Entered: Clerk, Circuit Court for

Baltimore County, MD
October 24, 2024
. Ruling/Record Summary # 32 of 70 Pat Stringer EXHIBIT 104

E-GSERVED B4altnynane ConnB/Ait cuit(oorh he/b/2024 3:00 PiMSy steno SystemE SARSPITZS

E-FILED; Baltimore County Circuit Court
CIRCUIT COURT FOR BALTIMOREDGERGN1038/2024'4400 PHS Sebinission: 10/8/2024 4:00 PM
MARYLAND Envelope: 18332728
40] Bosley Avenue, P.O. Box 6754, Towson, MD, 21285-
6754

To: RYAN DILLON-CAPPS
1334 MAPLE AVENUE
ESSEX, MD 21221

Case Number: C-03-CV-24-002264
Other Reference Number(s):

OHANA GROWTH PARTNERS, LLC VS. RYAN DILLON-CAPPS
Date: 10/8/2024

MDEC DEFICIENCY NOTICE
(Md. Rules Title 20)

To Ryan Dillon-capps: You have a deficiency in your filing. Pursuant to Maryland Rule 20-203(d)(3) the court will
strike the submission unless the deficiency is corrected or the deficient submission is withdrawn within 14 days or
the court orders otherwise. Please make the correction(s) indicated below and refile or withdraw the submission
within 14 days, making no other amendments, modifications, or changes to the submission except to correct the
deficiency. The time to file any responsive submission shall run from the date that the correct submission is filed.
The deficient submission file name(s) and date of filing are: Notice Regarding Restricted Information 10/08/2024.

[]  Inany one case multiple submissions (including proposed orders) must be submitted in the same envelope as
separate PDF files. Please resubmit the filings as separate submissions in the same envelope. (See Rule 20-201(c).)
Does not apply to L & T bulk filing.

[_] The submission is illegible or scanned with an incorrect orientation (¢.g., upside down, sideways, blurry, and blank
pages).

O

The electronic file names must relate to the title of the submission. The electronic file name must state whether all
or part of the submission is to be sealed or shielded pursuant to Rule 20-201.1. (e.g., RESTRICTED DOCUMENT-
Request to Shield Denied or Dismissed Protective Order Records) (See Rule 20-201(1).) If an exhibit to a
submission is filed, the exhibit and the electronic file name should accurately refer to the submission to which they
relate. (e.g., Ex 1 Pl MSJ) When the exhibit is an affidavit or other testimony, the file name must identify the affiant
or witness (e.g., Affidavit of John Doe).

The exhibit(s) are not identified using the drop-down menu provided.
The submission is not permitted to be filed electronically. (Sec Rule 20-106(c)(2).)

The submission does not include the filer’s signature (the signer’s typewritten name accompanied by a visual image
of the signer’s handwritten signature or by the symbol /s/) as required by Rule(s) 20-107(a)(1) and 20-101(t).

The submission does not have the filer’s address, e-mail address, telephone number, or the attorney’s identifying
Attorney Number registered with the Attorney Information System as required by Rule 20-107(a)(2).

O O WOO

You attempted to enter your appearance in the case as attorney for the victim or victim’s representative without
using form MDJ-009-Notice of Entry of Appearance by Attorney for Victim or Victim’s Representative. (See Rule
20-103(b)(1)(A).)

[_] The submission requires a signature under oath, affirmation, or with verification and is not hand-signed and scanned
or affixed with the signer’s digital signature. (See Rule 20-107(d)(1).)
CC-DC-094 (Rev. 01/2024) Page 1 of 3 10/08/2024 3:59 PM

. Ruling Record Summary # 33 of 70 EXHIBIT 104

Case 1:24-cv-03744-BAH Document 16-5 Filed 01/03/25 Page 34 of 70
Case Number: C-03-CV-24-002264

Other Reference Number(s):

O

CONSOLIDATED CASES: The submission was filed into a subcase. Where a judge has issued an order
consolidated cases and designates a lead case, all subsequent submissions must be filed in the lead case.

O

The proposed order was not submitted as a separate document, identified as a proposed order, or identified as
relating to the motion or other request for court action to which the order pertains. (See Rule 20-201(j).) This does
not apply if submitred on a combined motion & order form issued by the Judiciary.

The filing code was incorrect, and the clerk’s office was unable to determine the correct code.

The State Court Administrator requirements for requesting sheriff, constable or certified mail service in the District
Court have not been met (e.g., includes improper fee multiplier).

The submission was filed by a registered user on behalf of a non-registered user in violation of the policy published
by the State Court Administrator.

Oo OF OO

The party's name is not an identical reference to the name of cach party (spelling, first name, middle name(s), last
name(s), initial(s), and other identifiers) as required wherever that party’s name referred to in writing/electronically,
including but not limited to: in the pleading or other submission, party field, or File and Serve.

The filing location is incorrect.

(District Court only) WARRANT OF RESTITUTION: The petitioner must submit both the front of the Petition for
Warrant of Restitution and the second page which contains important notices to defendant.

O OD

(District Court only) The submission must be submitted on the most recent version of a form approved by the Chief
Judge of the District Court.

xX

Box 1 OR Box 2 must be checked on the Notice Regarding Restricted Information. If Box | is checked, a sub box
must be checked indicating the type of information that is included on the restricted document. If Box 2 1s checked,
a redacted and unredacted copy of the restricted document must be submitted.

To resubmit the submission(s), please re-file in a different envelope within 14 days of this notice and under
comments state that you are filing to correct the Deficiency Notice filed on 10/8/2024 with envelope 18320482.

je K. Dy Sor
Julie L. Ensor

Clerk of the Circuit Court

NOTE: You must submit a motion and have it granted by a judge to receive a refund of any fees associated with the
filing.

ORDER STRIKING DEFICIENT SUBMISSION(S)

The above deficiency notice has not been corrected within the required 14 days. The court has not issucd an order related
to the deficiency. Per Rule 20-203(d)(3), the deficient submission(s) is/are stricken.

CC-DC-094 (Rev. 01/2024) Page 2 of 3 10/08/2024 3:59 PM

. Ruling Record Summary # 34 of 70 EXHIBIT

104

E-SERVED: Baltnnoté T4unB/AOitcuitDourt hey ped 4:48 PMSystenpSystemE S488 4q42

E-FILED: Baltimore County Circuit Court
CIRCUIT COURT FOR BALTIMOREDCOXGN7019/202444i8 PME StBihission: 10/9/2024 1:48 PM
MARYLAND Envelope: 18344642
401 Bosley Avenue, P.O, Box 6754, Towson, MD, 21285-
6754

To: RYAN DILLON-CAPPS
1334 MAPLE AVENUE
ESSEX, MD 21221

Case Number: C-03-CV-24-002264
Other Reference Number(s):

OHANA GROWTH PARTNERS, LLC VS. RYAN DILLON-CAPPS
Date: 10/9/2024

MDEC DEFICIENCY NOTICE
(Md. Rules Title 20)

To Ryan Dillon-capps: You have a deficiency in your filing. Pursuant to Maryland Rule 20-203(d)(3) the court will
strike the submission unless the deficiency is corrected or the deficient submission is withdrawn within 14 days or
the court orders otherwise. Please make the correction(s) indicated below and refile or withdraw the submission
within 14 days, making no other amendments, modifications, or changes to the submission except to correct the
deficiency. The time to file any responsive submission shall run from the date that the correct submission is filed.
The deficient submission file name(s) and date of filing are: Motion for administrative hearing 10/8/24.

[<x] In any one case multiple submissions (including proposed orders) must be submitted in the same envelope as
separate PDF files. Please resubmit the filings as separate submissions in the same envelope. (See Rule 20-201(e).)

Does noi apply to L & T bulk filing.

[-] The submission is illegible or scanned with an incorrect orientation (e.g., upside down, sideways, blurry, and blank

pages).

[] The electronic file names must relate to the title of the submission. The electronic file name must state whether all
or part of the submission is to be sealed or shielded pursuant to Rule 20-201.1. (e.g., RESTRICTED DOCUMENT-
Request to Shield Denied or Dismissed Protective Order Records) (See Rule 20-201(i).) If an exhibit to a
submission 1s filed, the exhibit and the electronic file name should accurately refer to the submission to which they
relate. (e.g., Ex 1 Pl! MSJ) When the exhibit is an affidavit or other testimony, the file name must identify the affiant
or witness (e.g., Affidavit of John Doe).

[] The exhibit(s) are not identified using the drop-down menu provided.

[] The submission is not permitted to be filed electronically. (Sce Rule 20-106(c)(2).)

[J The submission does not include the filer’s signature (the signer’s typewritten name accompanied by a visual image
of the signer’s handwritten signature or by the symbol /s/) as required by Rule(s) 20-107(a)(1) and 20-101(t).

[_] The submission does not have the filer’s address, e-mail address, telephone number, or the attorney’s identifying
Attorney Number registered with the Attorney Information System as required by Rule 20-107(a)(2).

[-] You attempted to enter your appearance in the case as attorney for the victim or victim’s representative without

using form MDJ-009-Notice of Entry of Appearance by Attorney for Victim or Victim’s Representative. (See Rule
20-103(b)(1)(A).)

[_] The submission requires a signature under oath, affirmation, or with verification and is not hand-signed and scanned
or affixed with the signer’s digital signature. (See Rule 20-107(d)(1).)
CC-DC-094 (Rev. 01/2024) Page 1 of 3 10/09/2024 1:44 PM

. Ruling Record Summary # 35 of 70 EXHIBIT 104
Case 1:24-cv-03744-BAH Document 16-5 Filed 01/03/25 Page 36 of 70
Case Number: C-03-CV-24-002264

Other Reference Number(s):

O

CONSOLIDATED CASES: The submission was filed into a subcase. Where a judge has issued an order
consolidated cases and designates a lead case, all subsequent submissions must be filed in the lead case.

O

The proposed order was not submitted as a scparate document, identificd as a proposed ordcr, or identified as
relating to the motion or other request for court action to which the order pertains. (See Rule 20-201(j).) This does
not apply if submitted on a combined motion & order form issued by the Judiciary.

The filing code was incorrect, and the clerk’s office was unable to determine the correct code.

The State Court Administrator requirements for requesting sheriff, constable or certified mail service in the District
Court have not been met (e.g., includes improper fee multiplier).

The submission was filed by a registered user on behalf of a non-registered user in violation of the policy published
by the State Court Administrator.

Oo UO OU

The party's name is not an identical reference to the name of cach party (spelling, first name, middle name(s), last
name(s), initial(s), and other identifiers) as required wherever that party’s name referred to in writing/electronically,
including but not limited to: in the pleading or other submission, party field, or File and Serve.

The filing location ts incorrect.

(District Court only) WARRANT OF RESTITUTION: The petitioner must submit both the front of the Petition for
Warrant of Restitution and the second page which contains important notices to defendant.

(District Court only) The submission must be submitted on the most recent version of a form approved by the Chief
Judge of the District Court.

Oo OF OO

Other

To resubmit the submission(s), please re-file in a different envelope within 14 days of this notice and under
comments state that you are filing to correct the Deficiency Notice filed on 10/9/2024 with envelope 18334529.

ue K. En Sor_
Julie L. Ensor

Clerk of the Circuit Court

NOTE: You must submit a motion and have it granted by a judge to receive a refund of any fees associated with the
filing.

ORDER STRIKING DEFICIENT SUBMISSION(S)

The above deficiency notice has not been corrected within the required 14 days. The court has not issued an order related
to the deficiency. Per Rule 20-203(d)(3), the deficient submission(s) is/are stricken.

Date Judge

CC-DC-094 (Rev. 01/2024) Page 2 of 3 10/09/2024 1:44 PM

. Ruling Record Summary # 36 of 70 EXHIBIT 104

E-SRBED Baltirpoos Faun BAHICUI SORT REA AEA9: 1 2FANE EOI OPTS om FGI RFT EPS Ts
E-FILED: Baltimore County Circuit Court

CIRCUIT COURT FOR BALTIMORE K@UD/T02024 5442 AWS Suthission: 10/10/2024 9:12 AM
MARYLAND Envelope: 18354388
401 Bosley Avenue, P.O. Box 6754, Towson, MD, 21285-

6754

To: RYAN DILLON-CAPPS
1334 MAPLE AVENUE
ESSEX, MD 21221

Case Number: C-03-CV-24-002264
Other Reference Number(s):

OHANA GROWTH PARTNERS, LLC VS. RYAN DILLON-CAPPS
Date: 10/10/2024

There were no exhibits
in this filing. They are
screenshots. MDEC DEFICIENCY NOTICE
(Md. Rules Title 20)

To Ryan Dillon-Capps: You have a deficiency in your filing. Pursuant to Maryland Rule 20-203(d)(3) the court will
strike the submission unless the deficiency is corrected, or the deficient submission is withdrawn within 14 days or
the court orders otherwise. Please make the correction(s) indicated below and refile or withdraw the submission
within 14 days, making no other amendments, modifications, or changes to the submission except to correct the
deficiency. The time to file any responsive submission shall run from the date that the correct submission is filed.
The deficient submission file name(s) and date of filing are: Second request for Admin hearing 10/9/24.

<] In any one case multiple submissions (including proposed orders) must be submitted in the same envelope as
separate PDF files. Please resubmit the filings as separate submissions in the same envelope. (See Rule 20-201(c).)
Does not apply to L & T bulk filing. SUPPORTING EXHIBITS CAN NOT BE IN SAME FILE AS THE MOTION

[_] The submission is illegible or scanned with an incorrect orientation (e.g., upside down, sideways, blurry, and blank
pages).

O

The electronic file names must relate to the title of the submission. The electronic file name must state whether all
or part of the submission is to be sealed or shielded pursuant to Rule 20-201.1. (e.g., RESTRICTED DOCUMENT-
Request to Shield Denied or Dismissed Protective Order Records) (Sce Rule 20-201(i).) Ifan exhibit to a
submission is filed, the exhibit and the electronic file name should accurately refer to the submission to which they
relate. (c.g., Ex 1 P1 MSJ) When the exhibit is an affidavit or other testimony, the file name must identify the affiant
or witness (e.g., Affidavit of John Doe).

The exhibit(s) are not identified using the drop-down menu provided.
The submission is not permitted to be filed electronically. (Sec Rule 20-106(c)(2).)

The submission does not include the filer’s signature (the signer’s typewritten name accompanied by a visual image
of the signer’s handwritten signature or by the symbol /s/) as required by Rule(s) 20-107(a)(1) and 20-101(t).

The submission does not have the filer’s address, e-mail address, telephone number, or the attorney’s identifying
Attomey Number registered with the Attorney Information System as required by Rule 20-107(a)(2).

Oo OF OOD

You attempted to enter your appearance in the case as attorney for the victim or victim’s representative without
using form MDJ-009-Notice of Entry of Appearance by Attorney for Victim or Victim’s Representative. (See Rule
20-103(b)(1)(A).)

[] The submission requires a signature under oath, affirmation, or with verification and is not hand-signed and scanned
or affixed with the signer’s digital signature. (See Rule 20-107(d)(1).)
CC-DC-094 (Rev. 01/2024) Page 1 of 3 10/10/2024 8:59 AM

. Ruling Record Summary # 37 of 70 EXHIBIT 104

Case 1:24-cv-03744-BAH Document 16-5 Filed 01/03/25 Page 38 of 70
Case Number: C-03-CV-24-002264

Other Reference Number(s):

[.] CONSOLIDATED CASES: The submission was filed into a subcase. Where a judge has issued an order
consolidated cases and designates a lead case, all subsequent submissions must be filed in the lead case.

LJ The proposed order was not submitted as a separate document, identificd as a proposed ordcr, or identified as
relating to the motion or other request for court action to which the order pertains. (See Rule 20-201(j).) This does
not apply if submitted on a combined motion & order form issued by the Judiciary.

The filing code was incorrect, and the clerk’s office was unable to determine the correct code.

Court have not been met (e.g., includes improper fee multiplier).

The submission was filed by a registered user on behalf of a non-registered user in violation of the policy published

[_] The State Court Administrator requirements for requesting sheriff, constable or certified mail service in the District
by the State Court Administrator.

The party's name is not an identical reference to the name of cach party (spelling, first name, middle name(s), last
name(s), initial(s), and other identifiers) as required wherever that party’s name referred to in writing/electronically,
including but not limited to: in the pleading or other submission, party field, or File and Serve.

The filing location is incorrect.

(District Court only) WARRANT OF RESTITUTION: The petitioner must submit both the front of the Petition for

Warrant of Restitution and the second page which contains important notices to defendant.

LJ
L
[] (District Court only) The submission must be submitted on the most recent version of a form approved by the Chief
Judge of the District Court.

O

Other

To resubmit the submission(s), please re-file in a different envelope within 14 days of this notice and under
comments state that you are filing to correct the Deficiency Notice filed on 10/10/2024 with envelope 18344494.

qe K.DSor_
Julie L. Ensor

Clerk of the Circuit Court

NOTE: You must submit a motion and have it granted by a judge to receive a refund of any fees associated with the
filing.

ORDER STRIKING DEFICIENT SUBMISSION(S)

The above deficiency notice has not been corrected within the required 14 days. The court has not issued an order related
to the deficiency. Per Rule 20-203(d)(3), the deficient submission(s) is/are stricken.

Date Judge

CC-DC-094 (Rev. 01/2024) Page 2 of 3 10/10/2024 8:59 AM

. Ruling Record Summary # 38 of 70 EXHIBIT 104

E-GERVED: BaltonohS CqunhyAitcuitDouct te t/4e43: 00 RM GysteOCs2StemEnye Oe 16R 71686
E-FILED; Baltimore County Circuit Court
MOL02024 3:-DOARSAabnisiscinn100/0/20024 6:02 RM
Envelope: 183846686

Clerk: Please submit Defendant's "Motion For

Urgent Hearing to Address Violation of Entered: Clerk, Circuit Court for

Baltimore County, MD

Constitutional Rights and Rule 1-201", filed

10/8/2024, to Motions Judge for ruling. 7, October 11, 2024
OHANA GROWTH PARTNERS, LLC IN THE |
Plaintiff, time stamp says CIRCUIT COURT |
10/11/2024 2:13:47 PM |
VS. FOR
RYAN DILLON-CAPPS BALTIMORE COUNTY
Defendant. _CASE NO: C-03-CV-24-002264 |

THIRD REQUEST FOR ADMINISTRATIVE JUDGE HEARING

| INTRODUCTION

] Requester, Ryan Dillon-Capps, respectfully submits this Request for Administrative

Judge Hearing pursuant to Maryland Rule 20-203(b)(1) to address the improper rejection of
their filings by the Clerk’s Office. On October 8, 2024, the requester submitted an Affidavit of
Financial Urgency and a Motion for Urgent Hearing. These filings were erroneously marked
as deficient and subsequently rejected by the Clerk’s Office, causing unnecessary costs, delays,
and the misallocation of judicial resources.

2 The Notice of Deficiency accompanying the rejection cited the following reasons for the

filings being deemed deficient:

l. Alleged failure to include the filer’s signature, which was in fact included.
2 A minor technicality, which should have been corrected by the Clerk in

accordance with Maryland Rule 20-203(b)(1).

3 Additionally, on October 9, 2024, the Clerk flagged the filing again, this time incorrectly

identifying screenshots of evidence included in the body of the document as a separate,

Pave I of 16

. Ruling Record Summary # 39 of 70 EXHIBIT 104

Case 1:24-cv-03744-BAH Document 16-5 Filed 01/03/25 Page 40 of 70

CIRCUIT COURT FOR BALTIMORE COUNTY, _ Main: 410-887-2001
MARYLAND

401] Bosley Avenue, P.O. Box 6754, Towson, MD, 21285-
6754

To: RYAN DILLON-CAPPS
1334 MAPLE AVENUE
ESSEX, MD 2122]

Case Number: C-03-CV-24-002264
Other Reference Number(s):

OHANA GROWTH PARTNERS, LLC VS. RYAN DILLON-CAPPS
Date: 10/8/2024

MDEC DEFICIENCY NOTICE
(Md. Rules Title 20)

To Ryan Dillon-capps: You have a deficiency in your filing. Pursuant to Maryland Rule 20-203(d)(3) the court will
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within 14 days, making no other amendments, modifications, or changes to the submission except to correct the
deficiency. The time to file any responsive submission shall run from the date that the correct submission is filed.
The deficient submission file name(s) and date of filing are: Notice Regarding Restricted Information 10/08/2024.

[-]  Inany one case multiple submissions (including proposed orders) must be submitted in the same envelope as
separate PDF files. Please resubmit the filings as separate submissions in the same envelope. (See Rule 20-201 (e).)
Does not apply to L & T bulk filing.

[_] The submission is illegible or scanned with an incorrect orientation (e.g., upside down, sideways, blurry, and blank
pages).

(J The electronic file names must relate to the title of the submission. The electronic file name must state whether all
or part of the submission is to be sealed or shielded pursuant to Rule 20-201.1. (e.g., RESTRICTED DOCUMENT-
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Oo OF WOO

You attempted to enter your appearance in the case as attorney for the victim or victim’s representative without
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[] The submission requires a signature under oath, affirmation, or with verification and is not hand-signed and scanned

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CC-DC-094 (Rev. 01/2024) Page 1 of 3 10/08/2024 3:59 PM

. Ruling Record Summary # 40 of 70 EXHIBIT 104

Case 1:24-cv-03744-BAH Document 16-5 Filed 01/03/25 Page 41 of 70
Case Number: C-03-CV-24-002264

Other Reference Number(s):

O

CONSOLIDATED CASES: The submission was filed into a subcase, Where a judge has issued an order
consolidated cases and designates a lead case, all subsequent submissions must be filed in the lead case.

O

The proposed order was not submitted as a separate document, identified as a proposed order, or identified as
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— Box | OR Box 2 must be checked on the Notice Regarding Restricted Information. If Box | is checked, a sub box

must be checked indicating the type of information that is included on the restricted document. If Box 2 is checked,
a redacted and unredacted copy of the restricted document must be submitted.

To resubmit the submission(s), please re-file in a different envelope within 14 days of this notice and under
comments state that you are filing to correct the Deficiency Notice filed on 10/8/2024 with envelope 18320482.

qe K.DySor
Julie L. Ensor

Clerk of the Circuit Court

NOTE: You must submit a motion and have it granted by a judge to receive a refund of any fees associated with the
filing.

ORDER STRIKING DEFICIENT SUBMISSION(S)

The above deficiency notice has not been corrected within the required 14 days. The court has not issued an order related

to the deficiency. Per Rule 20-203(d)(3), the deficient submission(s) is/are stricken,
10/24/2024 5:53:35 PM

CC-DC-094 (Rev. 01/2024 P: 2 Michael J. Finifter 10/08/2024 3:59 PM
Ray aueziele Entered: Clerk, Circuit Court for
Baltimore County, MD
. Ruling Record Summary # 41 of 70 October 25, 2024 EXHIBIT 104

E-SERVEDLBAti nde SodhePeiltuit CourUt0d 5/2024: 5:57 ANS Steno SyStemEPyaiong-A 8400995

E-FILED; Baltimore County Circuit Court
CIRCUIT COURT FOR BALTIMORScKAQ-UDITN2024 YS ANTS Subitission: 10/15/2024 9:57 AM
MARYLAND Envelope: 18400995
401 Bosley Avenue, P.O. Box 6754, Towson, MD, 21285-
6754

To: ROBERT SCOTT BRENNEN
MILES & STOCKBRIDGE, P.C.
100 LIGHT STREET
BALTIMORE, MD 21202-1487

Case Number: C-03-CV-24-002264
Other Reference Number(s):

OHANA GROWTH PARTNERS, LLC VS. RYAN DILLON-CAPPS
Date: 10/15/2024

MDEC DEFICIENCY NOTICE
(Md. Rules Title 20)

To Robert S Brennen: You have a deficiency in your filing. Pursuant to Maryland Rule 20-203(d)(3) the court will
strike the submission unless the deficiency is corrected or the deficient submission is withdrawn within 14 days or
the court orders otherwise. Please make the correction(s) indicated below and refile or withdraw the submission
within 14 days, making no other amendments, modifications, or changes to the submission except to correct the
deficiency. The time to file any responsive submission shall run from the date that the correct submission is filed.
The deficient submission file name(s) and date of filing are: Proposed Order, 10/11/24.

[]  Inany one case multiple submissions (including proposed orders) must be submitted in the same envelope as
separate PDF files. Please resubmit the filings as separate submissions in the same envelope. (See Rule 20-201 (e).)
Does not apply to L & Tf bulk filing.

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The submission is not permitted to be filed electronically. (See Rule 20-106(c)(2).)

The submission does not include the filer’s signature (the signer’s typewritten name accompanied by a visual image
of the signer’s handwritten signature or by the symbol /s/) as required by Rule(s) 20-107(a)(1) and 20-101(t).

The submission does not have the filer’s address, e-mail address, telephone number, or the attorney’s identifying
Attorney Number registered with the Attorney Information System as required by Rule 20-107(a)(2).

Oo OF OOO

You attempted to enter your appearance in the case as attorney for the victim or victim’s representative without
using form MDJ-009-Notice of Entry of Appearance by Attorney for Victim or Victim’s Representative. (See Rule
20-103(b)(1 (A).)

CC-DC-094 (Rev. 01/2024) Page 1 of 3 10/15/2024 9:55 AM

. Ruling Record Summary # 42 of 70 EXHIBIT 104

Case 1:24-cv-03744-BAH Document 16-5 Filed 01/03/25 Page 43 of 70
Case Number: C-03-CV-24-002264

Other Reference Number(s):

[] The submission requires a signature under oath, affirmation, or with verification and is not hand-signed and scanned
or affixed with the signer’s digital signature. (See Rule 20-107(d)(1).)

CO

CONSOLIDATED CASES: The submission was filed into a subcase. Where a judge has issued an order
consolidated cases and designates a Icad casc, all subsequent submissions must be filed in the lead case.

(J The proposed order was not submitted as a separate document, identified as a proposed order, or identified as
relating to the motion or other request for court action to which the order pertains. (See Rule 20-201(j).) This does
not apply if submitted on a combined motion & order form issued by the Judiciary.

The filing code was incorrect, and the clerk’s office was unable to determine the correct code.
The State Court Administrator requirements for requesting sheriff, constable or certified mail service in the District

Court have not been met (¢.g., includes improper fee multiplicr).

O

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[] The submission was filed by a registered user on behalf of a non-registered user in violation of the policy published
by the State Court Administrator.

LO

The party's name is not an identical reference to the name of each party (spelling, first name, middle name(s), last
name(s), initial(s), and other identifiers) as required wherever that party's name referred to in writing/electronically,
including but not limited to: in the pleading or other submission, party field, or File and Serve.

The filing location is incorrect.

(District Court only) WARRANT OF RESTITUTION: The petitioner must submit both the front of the Petition for

Warrant of Restitution and the second page which contains important notices to defendant.

J

LJ

[-] (District Court only) The submission must be submitted on the most recent version of a form approved by the Chief
Judge of the District Court.

i

Other: Omnibus — must file one proposed order per opposition to motion

To resubmit the submission(s), please re-file in a different envelope within 14 days of this notice and under
comments state that you are filing to correct the Deficiency Notice filed on 10/15/2024 with envelope 18380460.

pie K.Dnsor
Julie L. Ensor

Clerk of the Circuit Court

NOTE: You must submit a motion and have it granted by a judge to receive a refund of any fees associated with the
filing.

ORDER STRIKING DEFICIENT SUBMISSION(S)

The above deficiency notice has not been corrected within the required 14 days. The court has not issued an order related
to the deficiency. Per Rule 20-203(d)(3), the deficient submission(s) is/are stricken.

CC-DC-094 (Rev. 01/2024) Page 2 of 3 10/15/2024 9:55 AM

. Ruling Record Summary # 43 of 70 EXHIBIT 104

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E-FILED; Baltimore County Circuit Court
CIRCUIT COURT FOR BALTIMORR4:GUNEW24 11468"AM StibrAlSsion: 11/13/2024 11:08 AM
MARYLAND Envelope: 18779719
401 Bosley Avenue, P.O. Box 6754, Towson, MD, 21285-
6754

To: RYAN DILLON-CAPPS
1334 MAPLE AVENUE
ESSEX, MD 21221

Case Number: C-03-CV-24-002264
Other Reference Number(s):

OHANA GROWTH PARTNERS, LLC VS. RYAN DILLON-CAPPS
Date: 11/13/2024

MDEC DEFICIENCY NOTICE
(Md. Rules Title 20)

To Ryan Dillon-capps: You have a deficiency in your filing. Pursuant to Maryland Rule 20-203(d)(3) the court will
strike the submission unless the deficiency is corrected or the deficient submission is withdrawn within 14 days or
the court orders otherwise. Please make the correction(s) indicated below and refile or withdraw the submission
within 14 days, making no other amendments, modifications, or changes to the submission except to correct the
deficiency. The time to file any responsive submission shall run from the date that the correct submission is filed.
The deficient submission file name(s) and date of filing are: Notice Regarding Restricted Information 11/08/2024.

[-]  Inany one case multiple submissions (including proposed orders) must be submitted in the same envelope as
separate PDF files. Please resubmit the filings as separate submissions in the same envelope. (See Rule 20-201(e).)
Does not apply to L & T bulk filing.

[-] The submission is illegible or scanned with an incorrect orientation (e.g., upside down, sideways, blurry, and blank
pages).

[] The electronic file names must relate to the title of the submission. The electronic file name must state whether all
or part of the submission is to be sealed or shielded pursuant to Rule 20-201.1. (¢.g., RESTRICTED DOCUMENT-
Request to Shield Denied or Dismissed Protective Order Records) (See Rule 20-201(i).) If an exhibit to a
submission is filed, the exhibit and the electronic file name should accurately refer to the submission to which they
relate. (¢.g., Ex 1 Pl] MSJ) When the exhibit is an affidavit or other testimony, the file name must identify the affiant
or witness (e.g., Affidavit of John Doe).

The exhibit(s) are not identified using the drop-down menu provided.
The submission is not permitted to be filed clectronically. (See Rule 20-106(c)(2).)

The submission does not include the filer’s signature (the signer’s typewritten name accompanied by a visual image
of the signer’s handwritten signature or by the symbol /s/) as required by Rule(s) 20-107(a)(1) and 20-101(t).

The submission does not have the filer’s address, e-mail address, telephone number, or the attorney’s identifying
Attorney Number registered with the Attorney Information System as required by Rule 20-107(a)(2).

Oo O OOO

You attempted to enter your appearance in the case as attorney for the victim or victim’s representative without
using form MDJ-009-Notice of Entry of Appearance by Attorney for Victim or Victim’s Representative. (See Rule
20-103(b)(1)(A).)

[] The submission requires a signature under oath, affirmation, or with verification and is not hand-signed and scanned
or affixed with the signer’s digital signature. (See Rule 20-107(d)(1).)
CC-DC-094 (Rev. 01/2024) Page 1 of 3 11/13/2024 10:48 AM

. Ruling Record Summary # 44 of 70 EXHIBIT 104

Case 1:24-cv-03744-BAH Document 16-5 Filed 01/03/25 Page 45 of 70
Case Number: C-03-CV-24-002264

Other Reference Number(s):

O

CONSOLIDATED CASES: The submission was filed into a subcase. Where a judge has issued an order
consolidated cases and designates a lead case, all subsequent submissions must be filed in the lead case.

O

The proposed order was not submitted as a separate document, identified as a proposed order, or identificd as
relating to the motion or other request for court action to which the order pertains. (See Rule 20-201(j).) This does
not apply if submitted on a combined motion & order form issued by the Judiciary.

The filing code was incorrect, and the clerk’s office was unable to determine the correct code.

The State Court Administrator requirements for requesting sheriff, constable or certified mail service in the District
Court have not been met (e.g., includes improper fee multiplier).

The submission was filed by a registered user on behalf of a non-registered uscr in violation of the policy published
by the State Court Administrator.

Oo OF OU

The party's name is not an identical reference to the name of cach party (spelling, first name, middle name(s), last
name(s), initial(s), and other identifiers) as required wherever that party’s name referred to in writing/electronically,
including but not limited to: in the pleading or other submission, party field, or File and Serve.

The filing location is incorrect.

(District Court only) WARRANT OF RESTITUTION: The petitioner must submit both the front of the Petition for
Warrant of Restitution and the second page which contains important notices to defendant.

(District Court only) The submission must be submitted on the most recent version of a form approved by the Chief
Judge of the District Court.

KX O OOD

Since two Notices Regarding Restricted Information were filed for two Exhibits, cach Exhibit must be submitted as

its own pdf. Ensor just edits the official form as often as needed. This one is missing the "ya,
ummm, Since two Notices Regarding ....”

To resubmit the submission(s), please re-file in a different envelope within 14 days of this notice and under
comments state that you are filing to correct the Deficiency Notice filed on 11/13/2024 with envelope 18741888.

yee K.EySor
Julie L. Ensor

Clerk of the Circuit Court

NOTE: You must submit a motion and have it granted by a judge to receive a refund of any fees associated with the
filing.

ORDER STRIKING DEFICIENT SUBMISSION(S)

The above deficiency notice has not been corrected within the required 14 days. The court has not issued an order related
to the deficiency. Per Rule 20-203(d)(3), the deficient submission(s) is/are stricken,

Date Judge
CC-DC-094 (Rev. 01/2024) Page 2 of 3 11/13/2024 10:48 AM

. Ruling Record Summary # 45 of 70 EXHIBIT 104
Case 1:24-cv-03744-BAH Document 16-5 Filed 01/03/25 Page 46 of 70
E-FILED; Baltimore County Circuit Court
: Docket: 10/15/2024 3:24 PM; Submission: 10/15/2024 3:24 PM
Envelope: 18381266

OHANA GROWTH PARTNERS, LLC IN THE
Plaintiff, | CIRCUIT COURT
Vs. 'FOR
RYAN DILLON-CAPPS BALTIMORE COUNTY
Defendant. CASE NO: C-03-CV-24-002264

MOTION FOR DISQUALIFICATION OF COUNSEL

] Defendant, Ryan Dillon-Capps, hereby submits this Motion for Disqualification of
Counsel and states as follows:

2 Ryan Dillon-Capps incorporates and adopts by reference all factual averments,
arguments, and documents contained in all of the Defendant’s motions, affidavits, petitions,
notices, amendments, exhibits, and other papers filed or submitted in this case, regardless of their
current status (pending, denied, granted, or otherwise), pursuant to Md. Rule 2-303(d)
(“Statements in a pleading or other paper of record may be adopted by reference in a different
part of the same pleading or paper of record or in another pleading or paper of record.”). This
incorporation includes, but is not limited to, any filings made contemporaneously with or
subsequent to this motion, ensuring that all submissions are considered as part of the record for
purposes of this proceeding, in real time.

3 Reservation of Rights: The Defendant reserves the nght to amend, withdraw, or exclude
any specific filing, document, or factual averment from this comprehensive incorporation at any
point, by submitting a formal notice or motion to the Court.

Moot. Case has been dismissed. Page 1 of 3
Letiige Entered: Clerk, Circuit Court for
11/06/2024 Baltimore County, MD

Pat Stringer November 6, 2024
. Ruling Record Summary # 46 of 70 serait Wa
Case 1:24-cv-03744-BAH Document16-5 Filed 01/03/25 Rage 47of 70
E-FILED; Baltimore County Circuit Court

. * Docket: 10/15/2024 3:24 PM; Submission: 10/15/2024 3:24 PM
Envelope: 18381266

OHANA GROWTH PARTNERS, LLC IN THE
Plaintiff, CIRCUIT COURT
VS. FOR
RYAN DILLON-CAPPS BALTIMORE COUNTY
Defendant. CASE NO: C-03-CV-24-002264

MOTION FOR EMERGENCY EXPEDITE HEARING BASED ON ADMINISTRATIVE
JUDGE'S EXPEDITED HEARING ORDER

l Defendant, Ryan Dillon-Capps, hereby submits this Motion for EMERGENCY Expedite
Hearing Based on Administrative Judge's EXPEDITED HEARING Order and states as follows:
2 Ryan Dillon-Capps incorporates and adopts by reference all factual averments,
arguments, and documents contained in all of the Defendant’s motions, affidavits, petitions,
notices, amendments, exhibits, and other papers filed or submitted in this case, regardless of their
current status (pending, denied, granted, or otherwise), pursuant to Md. Rule 2-303(d)
(“Statements in a pleading or other paper of record may be adopted by reference in a different
part of the same pleading or paper of record or in another pleading or paper of record.”). This
incorporation includes, but is not limited to, any filings made contemporaneously with or
subsequent to this motion, ensuring that all submissions are considered as part of the record for

purposes of this proceeding, in real time.

Page 1 of 3

. Ruling Record Summary # 47 of 70 EXHIBIT 104

Case 1:24-cv-03744-BAH Document 16-5 Filed 01/03/25 Page 48 of 70

3 Reservation of Rights: The Defendant reserves the right to amend, withdraw, or exclude
any specific filing, document, or factual averment from this comprehensive incorporation at any
point, by submitting a formal notice or motion to the Court.

4 WHEREFORE, for the reasons set forth above, Plaintiff respectfully requests that
Order: Motion for EMERGENCY Expedite Hearing Based on Administrative Judge's

EXPEDITED HEARING Order

Unknown, However, whoever sign this --
may have ruled on other things as well and
their rulings were covered up with the ones
that later covered up what they had

10/16/2024 3:41:45 PM DENIED

f+ f QAb-—

10/16/2024

Page 2 of 3

. Ruling Record Summary # 48 of 70 EXHIBIT 104

Case 1:24-cv-03744-BAH Document 16-5 Filed 01/03/25 Page 49 of 70
E-FILED; Baltimore County Circuit Court
* . Docket: 10/15/2024 3:24 PM; Submission: 10/15/2024 3:24 PM
Envelope: 18381266

OHANA GROWTH PARTNERS, LLC IN THE
Plaintiff CIRCUIT COURT
VS. |FOR
RYAN DILLON-CAPPS ' BALTIMORE COUNTY
Defendant. CASE NO: C-03-CV-24-002264

MOTION FOR MANDATORY INJUNCTION TO RESTORE LOST PAY DUE TO
FINANCIAL URGENCY

1 Defendant, Ryan Dillon-Capps, hereby submits this Motion for Mandatory Injunction To
Restore Lost Pay Due To Financial Urgency and states as follows:

2 Ryan Dillon-Capps incorporates and adopts by reference all factual averments,
arguments, and documents contained in all of the Defendant’s motions, affidavits, petitions,
notices, amendments, exhibits, and other papers filed or submitted in this case, regardless of their
current status (pending, denied, granted, or otherwise), pursuant to Md. Rule 2-303(d)
(“Statements in a pleading or other paper of record may be adopted by reference in a different
part of the same pleading or paper of record or in another pleading or paper of record.”). This
incorporation includes, but is not limited to, any filings made contemporaneously with or
subsequent to this motion, ensuring that all submissions are considered as part of the record for

purposes of this proceeding, in real time.

DENIED
Entered: Clerk, Circuit Court for

=. Baltimore County, MD
November 6, 2024 Page 1 of 3
Pat Stringer
11/06/2024

. Ruling Record Summary # 49 of 70 EXHIBIT 104

Case 1:24-cv-03744-BAH Document16-5 Filed 01/03/25 Page 50 of 70
E-FILED; Baltimore County Circuit Court
* * Docket: 10/15/2024 3:24 PM; Submission: 10/15/2024 3:24 PM
Envelope: 18381266

OHANA GROWTH PARTNERS, LLC IN THE
Plaintiff, CIRCUIT COURT
Vs. | FOR
RYAN DILLON-CAPPS BALTIMORE COUNTY
Defendant. _CASE NO: C-03-CV-24-002264

MOTION TO STRIKE BAD FAITH FILINGS

Defendant, Ryan Dillon-Capps, hereby moves this Honorable Court for an Order to: (1)
strike the Plaintiff’s filings submitted on October 11, 2024; (2) issue sanctions against
Plaintiff’s counsel, Miles & Stockbridge, for their ongoing pattern of fraudulent, misleading,
and sanctionable conduct in the representation of Ohana Growth Partners, LLC; and (3)
disqualify Plaintiff's counsel from further representation in this matter due to their improper
influence and unethical behavior that has perpetuated this meritless lawsuit. ln support of this
motion, Defendant states as follows:

I INTRODUCTION

3 This motion seeks to address the persistent and egregious conduct of Miles &

Stockbridge, who, in their representation of Ohana Growth Partners, LLC, have perpetuated a
fraudulent lawsuit against Ryan Dillon-Capps without legal or factual foundation. Despite
clear evidence and numerous opportunities to correct their course, the Plaintiff and their counsel
have demonstrated a repeated pattern of misrepresentation, retaliation, and unethical

litigation tactics that not only harm the Defendant but also undermine the integrity of the

judicial system.

DENIED
Batimore county, MD | 1/06/2024 Yee.

November 6, 2024 ‘siileue
. Ruling Record Summary # 50 of 70 EXHIBIT 104

Page | of 48

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E-FILED; Baltimore County Circuit Court
Docket: 10/24/2024 8:25 AM; Submission: 10/24/2024 8:25 AM
Envelope: 18535808

OHANA GROWTH PARTNERS, LLC * IN THE
Plaintiff, * CIRCUIT COURT
v. * FOR
RYAN DILLON-CAPPS, * BALTIMORE COUNTY
Defendant. e Case No.: C-03-CV-24-002264
* * * * * * * * * ** *

a
| This filing contained argument against Barranco's conduct. |

ORDER DENYING DEFENDANT’S MOTION TO ASSERT RIGHTS
AND REQUEST FOR IMMEDIATE RULINGS

In consideration of the Defendant’s “Motion to Assert Rights and Request for Immediate

Rulings” filed on September 30, 2024, it is on this October 23, 2024 ORDERED that the

Motion is DENIED IN ITS ENTIRETY.

To the extent the Motion complains of the entry of an Order of Default and relates to the
Defendant’s Motion to Vacate such Order, the Order of Default entered on 8/21/24 was vacated

by order of the Hon. Patrick Stringer on October 10, 2024. Thus, that issue is MOOT.

The remainder of the Defendant’s Motion is entirely incoherent and unintelligible, and the
Motion fails to state any proper ground for relief. To the extent the Motion relates to rulings made
during the hearings conducted on June 26, 2024 and June 27, 2024, the entry of the Preliminary
Injunction Order, or the June 27, 2024 Order Holding the Defendant in Constructive Civil
Contempt, the Court DENIES the Motion to the extent it seeks reconsideration of those rulings.
The Court, however, notes that the Plaintiff filed a Notice of Withdrawal of Petition for
Constructive Civil Contempt (seeking incarceration), and the Court entered an Order dated July

22, 2024, inter alia, canceling the August 7, 2024 Show Cause Hearing.

WA | As—

Judge, Circuit Court for Baltimore County

Entered: Clerk, Circuit Court for

Baltimore County, MD 10/23/2024 Michael S. Barranco

October 24, 2024
40/23/2024 5:11:39 PM

. Ruling Record Summary # 51 of 70 EXHIBIT 104

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OHANA GROWTH PARTNERS, IN THE
LLC CIRCUIT COURT
Plaintiff, FOR
VS. BALTIMORE COUNTY
RYAN DILLON-CAPPS CASE NO: C-03-CV-24- |
Defendant. 002264
| |

MOTION TO ASSERT RIGHTS AND REQUEST FOR IMMEDIATE RULINGS

l Defendant, Ryan Dillon-Capps, respectfully submits this motion to assert rights before
this Honorable Court and request immediate rulings on outstanding matters critical to the
resolution of this case. Despite recent positive developments, including the long-delayed entry of
the Motion for Sanctions on September 30, 2024, and the release of previously withheld
transcripts from June 26, 2024, on the same day. The speed of these actions does not align with
the urgency of the harm inflicted upon the Defendant. Given the extensive delays and the
ongoing irreparable harm caused by this case, Defense asserts the right to have these matters
resolved expeditiously to prevent further undue harm and suffering.

| JUDICIAL OVERREACH

2 The default order was granted 6 days before the deadline for an answer was due, In

violation of Md. Rule 2-613. The court acted prematurely and exceeded Judicial Discretion,
without allowing the Defendant the full legal time to respond and exacerbating this issue by
ignoring the opposition for over 40 days. This is a clear example of the court exceeding its

discretion and depriving Dillon-Capps of due process.

Denied. An identical or similar Motion filed on 9/30/24 was . bupae re
beth 10/24/2024

ge 1 of 44

already denied by Judge Barranco.

Entered: Clerk, Circuit Court for

: i Gi , MD -
. Rufing Record Summary # 52 of 70 Orlober 25, 2084 Pat Stringer EXHIBIT 104

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OHANA GROWTH PARTNERS, LLC | IN THE
Plaintiff, CIRCUIT COURT
VS. | FOR
RYAN DILLON-CAPPS BALTIMORE COUNTY
Defendant. CASE NO: C-03-CV-24-002264
| |

MOTION FOR URGENT HEARING TO ADDRESS VIOLATION OF
CONSITUTIONAL RIGHTS AND RULE 1-201

l Plaintiff's Request for an Urgent Hearing Concerning Deficient Filing Notices Under
Rule 1-324 and Clerk’s Office Procedures

2 COMES NOW, the Plaintiff, Ryan Dillon-Capps, and respectfully requests an urgent
hearing to address the deficient filing notice received on October 8, 2024, concerning Plaintiff's
filing of the Affidavit of Financial Urgency with three attached exhibits, which was submitted

to the Court on October 7, 2024. This motion is based on the following grounds:

| BACKGROUND
3 On October 7, 2024, Plaintiff submitted the Affidavit of Financial Urgency, which was
accompanied by three exhibits.
4 The exhibit was filed in two versions:
l. Redacted Version: Filed publicly.
2, Unredacted Version: Filed separately with a Notice Regarding Restricted

Information pursuant to Rule 20-201.1, clearly labeled and complying with the rule’s

Entered: Clerk, Circuit Court for
requirements. Baltimore County, MD
October 29, 2024

Denied as moot. Plaintiff has filed a Voluntary Dismissal of this case.

10/28/2024 tbe

. Ruling Record Summary # 53 of 70 Pat Stringer EXHIBIT 104

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; ; cas E-FILED; Baltimore County Circuit Court
Denied - insufficient legal or factual basis for DockBbclQit:712022 02456 SYP IS uSntiesixsioi0/Mt20224 0:55 RM
the elief requested. The Court also notes that Envelope: 18449868
a voluntary dismissal was filed recently, and
that the case is closed. Entered: Clerk, Circuit Court for

7th of November, 2024 “{ awe ye a eenuae? oo
OHANA GROWTH PARTNERS, LLC | IN THE
Plaintiff, | CIRCUIT COURT
VS. FOR
RYAN DILLON-CAPPS | BALTIMORE COUNTY
Defendant. | CASE NO: C-03-CV-24-002264

REQUEST TO RECONSIDER ENFORCEMENT OF ADMINISTRATIVE JUDGE RULING
ENTERED ON OCTOBER 11, 2024

1 1. Requester, Ryan Dillon-Capps, respectfully submits this Request to Reconsider
Enforcement of the Administrative Judge’s Ruling entered on from October 11, 2024, and states
the following in support of this request:

2 The Requestor, Ryan Dillon-Capps, apologizes for any confusion caused in the prior
filings. The Motion for Emergency Expedited Hearing based on the Administrative Judge’s
Expedited Hearing Order was not a new request lacking fact. Instead, it was an attempt, albeit
flawed, to expedite the enforcement of the ruling from the Third Request for Administrative
Judge Hearing. The intention was to seek more timely enforcement of that decision.

3 It has now been a week since, and the urgency surrounding this issue is not new. I have
raised these concerns repeatedly. On October 7th, | submitted an Affidavit of Financial
Urgency that contained supporting evidence illustrating the critical nature of the situation.
However, this affidavit was marked deficient. Similarly, the affidavit filed on October 8th and
the Motion for Urgent Hearing to Address Violations of Constitutional Rights and Rule 1-

201 faced the same fate. To put this into context this ruling almost a month had

Page lief 7

. Ruling Record Summary # 54 of 70 EXHIBIT 104
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OHANA GROWTH PARTNERS, LLC | IN THE

Plaintiff, | CIRCUIT COURT

VS. FOR

RYAN DILLON-CAPPS | BALTIMORE COUNTY
Defendant. FILE NO.: C-03-CV-24-002264

NOTICE OF VOLUNTARY DISMISSAL

Plaintiff, Ohana Growth Partners, LLC., by its undersigned attorneys, and pursuant to
MD Rule 2-506(a), hereby gives notice of the dismissal, without prejudice, of the above-
captioned matter.

October 24, 2024 Respectfully submitted,

/s/ Robert S. Brennen

Robert S. Brennen (AIS # 8712010068)
e-mail: RBrennen@milesstockbridge.com
Steven D. Frenkil (AIS # 7712010110)
e-mail: SFrenkil@milesstockbridge.com
Victoria K. Hoffberger (AIS # 1912170195)
e-mail: VHoffberger@milesstockbridge.com
Jessica L. Duvall (AIS # 1812110110)
e-mail: JDuvall@milesstockbridge.com
MILES & STOCKBRIDGE P.C.

100 Light Street

Baltimore, Maryland 21202

Telephone: (410) 727-6464

Facsimile: (410) 385-3700

Counsel for Plaintiff Ohana Growth
Partners, LLC

GRANTED -Case is Dismissed.

The Court notes that, on 10/23/24, the Defendant also filed a Motion to Dismiss this case..

11/02/2024 fetta Entered: Clerk, Circuit Court for

Pat Stringer Baltimore County, MD
November 6, 2024

. Ruling Record Summary # 55 of 70 EXHIBIT 104

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. : : - E-FILED; Baltimore County Circuit Court
4 Motion is denied because there is not a sufficient | popekets/702M202402:3 ANISSbbrissixion4 107810024 2:35 RM
legal or factual basis for hte relief requested. The Envelope: 18329624
Court also notes that Ohana Growth Partners Entered: Clerk, Circuit Court for
recently filed a notice of voluntary dismissal :
pursuant to MD Rule 25506(a). Baltimore County, MD
Te Uw - \ 6th of November, 2024 November f, 2024
OHANA GROWTH PARTNERS, LLC IN THE |
Plaintiff, CIRCUIT COURT
VS. FOR |
RYAN DILLON-CAPPS 'BALTIMORE COUNTY
Defendant. CASE NO: C-03-CV-24-002264 |
MOTION TO COMPELL
] COMES NOW, Ryan Dillon-Capps, and respectfully moves this Honorable Court to

compel the judicial officers presiding over this case to fulfill their judicial duties as mandated by
law, or in the alternative, to join the respective judges as plaintiffs in this matter. This motion is
brought pursuant to Rule 2-502 of the Maryland Rules of Civil Procedure and Rule 19 of the
Federal Rules of Civil Procedure, based on the following grounds

I INTRODUCTION

2 This motion arises from the failure of the judicial officers overseeing this case to act

within their judicial discretion and in accordance with their duties. Despite repeated attempts by
Plaintiff to engage with the judicial process, Dillon-Capps has been met with ongoing inaction,
delays, and refusals to address critical issues. The failure of the Court to adjudicate the matters
properly presented undermines both the nghts of the Plaintiff and the integrity of the judicial
system.

3 Dillon-Capps seeks an order compelling the Court to take immediate action and fulfill its
obligation to provide timely and fair adjudication. Alternatively, should the Court continue to

abstain from performing its duties, Dillon-Capps requests that the judges involved be joined as

Page | of 45

. Ruling Record Summary # 56 of 70 EXHIBIT 104

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; . - . E-FILED; Baltimore County Circuit Court
Denied - insufficient legal or factual basis for DockBbcttt712022 02456 VP SuSotiesisio h0/77208840:53 RM
the elief requested. The Court also notes that Envelope: 18449668
a voluntary dismissal was filed recently, and
that the case is closed. Entered: Clerk, Circuit Court for

¢ Baltimore County, MD
7th of November, 2024 “| Div (be vy November 7 one 4
OHANA GROWTH PARTNERS, LLC | IN THE
|
Plaintiff, CIRCUIT COURT
VS. FOR

BALTIMORE COUNTY

|
|
RYAN DILLON-CAPPS |

Defendant. _CASE NO: C-03-CV-24-002264

REQUEST TO RECONSIDER ENFORCEMENT OF ADMINISTRATIVE JUDGE RULING
ENTERED ON OCTOBER 11, 2024

1. Requester, Ryan Dillon-Capps, respectfully submits this Request to Reconsider
Enforcement of the Administrative Judge’s Ruling entered on from October 11, 2024, and states
the following in support of this request:

2 The Requestor, Ryan Dillon-Capps, apologizes for any confusion caused in the prior
filings. The Motion for Emergency Expedited Hearing based on the Administrative Judge’s
Expedited Hearing Order was not a new request lacking fact. Instead, it was an attempt, albeit
flawed, to expedite the enforcement of the ruling from the Third Request for Administrative
Judge Hearing. The intention was to seek more timely enforcement of that decision.

3 It has now been a week since, and the urgency surrounding this issue is not new. | have
raised these concerns repeatedly. On October 7th, | submitted an Affidavit of Financial
Urgency that contained supporting evidence illustrating the critical nature of the situation.
However, this affidavit was marked deficient. Similarly, the affidavit filed on October 8th and
the Motion for Urgent Hearing to Address Violations of Constitutional Rights and Rule 1-

201 faced the same fate. To put this into context this ruling almost a month had

Page 1 of 7

. Ruling Record Summary # 57 of 70 EXHIBIT 104

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OHANA GROWTH PARTNERS, LLC IN THE |
Plaintiff, CIRCUIT COURT |
VS. FOR |
RYAN DILLON-CAPPS BALTIMORE COUNTY |
|
Defendant. | CASE NO: C-03-CV-24-002264

|

ORDER FOR REQUEST FOR EMERGENCY ADMINISTRATIVE REVLEW

Upon consideration of Defendant, Ryan Dillon-Capps’ Request for Emergency Administrative
Review, and any opposition or responses thereto, itis this 6th of November, 2024
by the Circuit Court for Baltimore County, Maryland, hereby:

ORDERED, as follows:

The motion is denied because there is not a sufficient legal or factual basis for
the relief requested. The Court also notes that Ohana Growth Properties recently
filed a notice of voluntary dismissal pursuant to Maryland Rule 2-506(a).

Die

Hon. Dennis M. Robinson, Jr.
County Administrative Judge
Circuit Court for Baltimore County

Entered: Clerk, Circuit Court for
Baltimore County, MD
November 7, 2024

. Ruling Record Summary # 58 of 70 EXHIBIT 104

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OHANA GROWTH PARTNERS, LLC IN THE
Plaintiff CIRCUIT COURT
Vv. FOR BALTIMORE COUNTY
RYAN DILLON-CAPPS Case No. C-03-CV-24-002264
Defendants

ORDER

Defendant Ryan Dillon-Capps has, on more than one occasion, submitted filings
by e-mail directly to the County Administrative Judge and otherwise attempted to
communicate with the County Administrative Judge through e-mail. That conduct is not
appropriate. It is ordered that Ryan Dillon-Capps not submit any filings or other
correspondence to the County Administrative Judge or any other judge of this Court by
e-mail or otherwise attempt to contact the County Administrative Judge or any other
judge of this Court; ordered that any filings to be considered by the Court be filed
through MDEC; and ordered that failure to comply with this order may result in

sanctions being imposed.

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Dennis M. Robinson, Jr.
Judge, Circuit Court for Baltimore County

No filing was ever submitted by email. This is
because they are manipulating the court record

and emails create a record they can't as easily .
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Baltimore County, MD
November 14, 2024

. Ruling Record Summary # 59 of 70 EXHIBIT 104

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OHANA GROWTH PARTNERS, LLC IN THE |
Plaintiff, CIRCUIT COURT
Vs. FOR
RYAN DILLON-CAPPS BALTIMORE COUNTY
Defendant. CASE NO: C-03-CV-24-002264 |
|

[PROPOSED] ORDER FOR MOTION IN LIMINE TO EXCLUDE PLAINTIFF’S CLAIMS,
STATEMENTS, AND AFFIRMATIONS NOT SUPPORTED BY EVIDENCE

Upon consideration of Defendant, Ryan Dillon-Capps’ Motion in Limine to Exclude Plaintiff's
Claims, Statements, and Affirmations Not Supported by Evidence, and any opposition,
attachments, or responses thereto, it is this day of , 2024, by the Circuit
Court for Baltimore County, Maryland, hereby:

ORDERED, as follows:

l ORDERED, that Defendant’s Motion in Limine to Exclude Plaintiff’s Claims,
Statements, and Affirmations Not Supported by Evidence is hereby GRANTED; and it is
further

2 ORDERED, that Plaintiff Ohana Growth Partners, LLC is precluded from
introducing or referencing any claims, statements, or allegations that are not supported by
admissible evidence, including those unsupported by documentary or testimonial evidence; and it

is further

Entered: Clerk, Circuit Court for
Baltimore County, MD

November 15, 2024

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Pat Stringer

Denied as moot. Case has been dismissed.

. Ruling Record Summary # 60 of 70 EXHIBIT 104

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OHANA GROWTH PARTNERS, LLC | IN THE
Plaintiff, | CIRCUIT COURT
vs. \FOR
RYAN DILLON-CAPPS | BALTIMORE COUNTY
Defendant. CASE NO: C-03-CV-24-002264 |

[PROPOSED] ORDER FOR MOTION TO VACATUR THE TEMPORARY RESTRAINING
ORDER

Upon consideration of Defendant, Ryan Dillon-Capps’ Motion to Vacatur the Temporary
Restraining Order, and any opposition or responses thereto, itis this __ day of

. 2024, by the Circuit Court for Baltimore County, Maryland, hereby:

ORDERED, as follows:

l ORDERED, that Defendant Motion to Vacatur the Temporary Restraining Order is hereby

GRANTED; and it is further

2 ORDERED, that the Temporary Restraining Order (TRO) and Preliminary Injunction

obtained by Plaintiff Ohana Growth Partners, LLC are VACATED in their entirety due to the

following reasons:

Moot. The TRO expired after ten days and the case has been dismissed by Plaintiff.
Entered: Clerk, Circuit Court for

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Pat Stringer

. Ruling Record Summary # 61 of 70 EXHIBIT 104

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OHANA GROWTH PARTNERS, LLC

Plaintiff,
VS.
RYAN DILLON-CAPPS

Defendant.

IN THE

CIRCUIT COURT

\FOR

| BALTIMORE COUNTY

| CASE NO: C-03-CV-24-002264

DEPOSITION REQUEST FOR AGENTS OF OHANA GROWTH PARTNERS

] Defendant Ryan Dillon-Capps, respectfully requests the depositions of the agents of

Ohana Growth Partners, LLC, including but not limited to Justin Drummond, Daniel

Levett, and Randall Romes, to challenge the basis of Plaintiff's claims for injunctive relief and

to compel the production of all supporting and opposing evidence. The primary purpose of

these depositions is to require the Plaintiff to demonstrate that they had a legitimate basis for

seeking injunctive relief prior to the commencement of this action and to provide evidence that

their claims have merit.

2 If the Plaintiff fails to produce credible evidence to support their request for injunctive

relief or the merits of their underlying claims, it will confirm that this lawsuit is baseless and

should be dismissed.

3 The requested depositions and accompanying production of documents will focus on the

following key issues:

INJUNCTIVE RELIEF BASIS

Denied as moot. Case has been dismissed.

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Entered: Clerk, Circuit Court for

Baltimore

County, MD

November 15, 2024 Page 1 of 37

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OHANA GROWTH PARTNERS, LLC IN THE |
Plaintiff, _CIRCUIT COURT
vs. FOR
RYAN DILLON-CAPPS BALTIMORE COUNTY
Defendant. | CASE NO: C-03-CV-24-002264 |

MOTION TO COMPEL PRODUCTION TO SUPPORT CLAIMS AT HEARING

Defendant, Ryan Dillon-Capps, respectfully moves this Honorable Court, pursuant to
Maryland Rule 2-432, to compel Plaintiff Ohana Growth Partners, LLC to produce the
documents requested in Defendant’s First Request for Production of Documents. In support of

this motion, Defendant states as follows:

| BACKGROUND

2 Plaintiff Ohana Growth Partners, LLC initiated this action on June 14, 2024, asserting

claims against Defendant that remain unsupported by factual evidence, despite four months of
litigation.

3 First Request for Production of Documents, seeking key materials and evidence
necessary to evaluate the claims and prepare a defense is being filled alongside several other
filings for a better understanding of what exactly is the evidentiary basis for the Plaintiff's
claims.

4 Plaintiff Ohana Growth Partners, LLC initiated this action on June 14, 2024,
asserting claims against Defendant Ryan Dillon-Capps that, despite four months of litigation,

remain unsupported by factual evidence. Under Maryland Rule 2-401(b), discovery is

DENIED as moot. Case has been dismissed.| Entered: Clerk, Circuit Court for rage tot 10
Baltimore County, MD

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. Ruling Record Summary # 63 of 70 Pat Stringer EXHIBIT 104

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OHANA GROWTH PARTNERS, LLC | IN THE
Plaintiff, | CIRCUIT COURT
VS. FOR
RYAN DILLON-CAPPS | BALTIMORE COUNTY
Defendant. | CASE NO: C-03-CV-24-002264 |

[PROPOSED] ORDER FOR MOTION TO DISMISS WITH PREJUDICE FOR A JUNE 13TH
WORTH OF REASONS

Upon consideration of Defendant, Ryan Dillon-Capps’ Motion to Dismiss with Prejudice for a

June 13th Worth of Reasons, and any opposition or responses thereto, itis this. | — day of

, 2024, by the Circuit Court for Baltimore County, Maryland, hereby:

ORDERED, as follows:

1 ORDERED, that Defendant Motion to Dismiss with Prejudice for a June 13th Worth of
Reasons is hereby GRANTED; and it is further
2 ORDERED, that this case is DISMISSED WITH PREJUDICE based on the following
grounds:

I. Plaintiff's violation of the Unclean Hands Doctrine through their admitted

violation of the Family and Medical Leave Act (FMLA), and it is further

Moot. Case has been dismissed Entered: Clerk, Circuit Court for
, , Baltimore County, MD

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. Ruling Record Summary #64 of 70 EXHIBIT 104

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Case Number: C-03-CV-24-002264
Other Reference Numbers:

OHANA GROWTH PARTNERS, LLC VS. RYAN DILLON-CAPPS

ORDER

Presently before the court are the following motions filed by the Defendant: Amended Motion for Mandatory
Injunction to Restore Lost Pay Due to Financial Urgency, Motion for a Better Maryland With Reciprocal Relief, Motion
for Injunction to Prevent Future Abuse of Court Process, and Motion to Impose Sanctions Not Sanction Fraudulent
Lawsuits. The essential grounds for these motions are the Defendant’s argument that there is “no truth” to the Plaintiff's
claims and that the Plaintiffs suit is fraudulent. The court held a hearing on this matter on June 26 and 27, 2024. Both
parties were present, testimony was taken and exhibits were entered in evidence. Both parties had an opportunity to be
heard. After consideration of the evidence, the court made findings of fact and granted a preliminary injunction in favor of
the Plaintiff and held the Defendant in constructive civil contempt. On October 23, 2024, the court denied the Defendant’s
request to reconsider that ruling. The Defendant’s allegations that form the basis of these motions are contrary to the
findings and conclusions of the court that conducted a hearing on this matter. Accordingly, it is hereby
ORDERED, that all of the above Motions are DENIED.

11/16/2024 fete

Date Judge Pat Stringer

Entered: Clerk, Circuit Court for
Baltimore County, MD

November 18, 2024

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Unified Argument

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. Ruling Record Summary # 65 of 70 EXHIBIT 104

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OHANA GROWTH PARTNERS, IN THE

LLC CIRCUIT COURT
Plaintiff, FOR

Vs. BALTIMORE COUNTY

RYAN DILLON-CAPPS CASE NO: C-03-CV-24-
Defendant. 002264

MOTION FOR SANCTIONS ON OCTOBER 25, 2024

| Defendant, Ryan Dillon-Capps(‘“Defendant” or “Dillon-Capps” or “RDC” or
“Unbelievable Dillon-Capps”) , hereby moves this Honorable Court to Sanction Plaintiff, Ohana
Growth Partners, LLC (“Ohana”), along with its legal counsel, Miles & Stockbridge, P.C.
(“M&S”), under Maryland Rule 1-311 that requires all court filings to be made for a proper
purpose — specifically, to advance a legitimate legal claim.

2 Ohana and M&S filings serve no legitimate legal purpose, as the original claim was filed

on June 14, 2024, without merit due to Richard Hartman’s admission of misconduct on page 4 of

his Affidavit:

“Dillon-Capps claimed that Ohana’s efforts to regain control of its own systems, MS 365
Account somehow amounts to retaliation against Dillon-Capps for requesting family and
medical leave”

3 The hearing transcript from June 26, 2024, includes Lead Counsel for Ohana, Robert
Brennen — Principle of M&S, telling Judge Barranco under oath on page 48 that there is no

dispute that Ohana demand Dillon-Capps work after Defendant notified Ohana that Dillon-Capps

DENIED Page 1 of 18
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November 18, 2024
. Ruling Record Summary # 66 of 7) _ Part Stringer EXHIBIT 104

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OHANA GROWTH PARTNERS, LLCs IN THE
Plaintiff, CIRCUIT COURT |

VS. FOR |
RYAN DILLON-CAPPS BALTIMORE COUNTY
Defendant. CASE NO: C-03-CV-24-002264 |

|

MOTION TO STRIKE NOTICE OF VOLUNTARY DISMISSAL

Defendant, Ryan Dillon-Capps (“Defendant” or “Dillon-Capps” or “RDC” or “’ Unbelievable’
Dillon-Capps, respectfully moves this Honorable Court to Strike the Notice of Voluntary
Dismissal filed by Miles & Stockbridge, PC (“M&S”) on behalf of the Plaintiff, Ohana Growth
Partners, LLC (“Ohana” or “OGP”), pursuant to the Court’s inherent authority to prevent abuse
of process, ensure judicial economy, and protect against improper litigation tactics, and states as
follows:

| INCORPORATED HEREIN

l Ryan Dillon-Capps incorporates and adopts by reference all factual averments,

arguments, and documents contained in all of the Defendant’s motions, affidavits, petitions,
notices, amendments, exhibits, and other papers filed or submitted in this case, regardless of their
current status (pending, denied, granted, or otherwise), pursuant to Md. Rule 2-303(d)
(“Statements in a pleading or other paper of record may be adopted by reference in a different
part of the same pleading or paper of record or in another pleading or paper of record.”). This

incorporation includes, but is not limited to, any filings made contemporaneously with or
DENIED edith

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11/18/2024 Baltimore County, MD

November 19, 2024 EXHIBIT 104

. Ruling Record Summary # 67Jof 70 Pat Stringer

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Soy i Mya November 26, 2024

OHANA GROWTH PARTNERS, LLC IN THE
Plaintiff, CIRCUIT COURT
Vs. FOR
RYAN DILLON-CAPPS BALTIMORE COUNTY
Defendant. _CASE NO: C-03-CV-24-002264 y

[PROPOSED] ORDER FOR REQUEST FOR PREHEARING CONFERENCE TO #SCUSS

INJUNCTIVE RELIEF

Upon consideration of Defendant, Ryan Dillon-Capps’ Request for Preheayffg Conference to

Discuss Injunctive Relief, and any opposition, attachments, or respong@s thereto, it is this
day of , 2024, by the Circuit Court for Bgfimore County, Maryland,
hereby:

ORDERED, as follows:

] Defendant Request for Prehearing @Onference to Discuss Injunctive Relief is hereby
GRANTED; and it is further
2 ORDERED, a prehearingConference shall be scheduled for the purpose of discussing

injunctive relief, both fileg#ind potential, on , 2024, at

and itis further
3 ORDJMED, that this conference shall facilitate discussion on existing and potential
injuncte relief claims to ensure judicial efficiency, address unresolved issues, and potentially

uce further litigation steps; and it is further

Page 1 of 3

. Ruling Record Summary # 68 of 70 EXHIBIT 104

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A Mae Baltimore County, MD
Stacy Mayer December 2, 2024

OHANA GROWTH PARTNERS, LLC ——s IN THE |
Plaintiff ‘CIRCUIT COURT |

VS. /FOR
RYAN DILLON-CAPPS | BALTIMORE COUNTY |
Defendant. | CASE NO: C-03-CV-24-002264 |

REQUEST FOR MANDATORY JUDICIAL NOTICE HEARING ON MATERIAL FACTS

1 Defendant, Ryan Dillon-Capps, respectfully moves this Honorable Court to conduct a
hearing for the purpose of taking judicial notice of certain material facts, which are documented
through verified affidavits, exhibits, and the Plaintiff's own filings. This request is made
pursuant to Maryland Rule 5-201(b), (d), and (e), as the Defendant asserts that these facts meet
the requirements for judicial notice: they are clearly documented, not subject to reasonable

dispute, and are central to resolving the current matter.

I GROUNDS FOR JUDICIAL NOTICE
2 Judicial Notice Standard (Maryland Rule 5-201(b)): Under Maryland Rule 5-201(b),

the Court may take judicial notice of facts that are "not subject to reasonable dispute" and can be
verified by reliable sources. I, the Defendant, submit that the facts listed below—documented
through verified affidavits, communications, and Plaintiffs own filings—are supported by a
preponderance of evidence and remain unchallenged, as the Plaintiff has presented no evidence
to refute them. These facts are therefore specific, readily verifiable, and central to resolving this

Case.

Page 1 of 8

. Ruling Record Summary # 69 of 70 EXHIBIT 104

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OHANA GROWTH PARTNERS, LLCs IN THE
Plaintiff, CIRCUIT COURT |

VS. FOR
RYAN DILLON-CAPPS BALTIMORE COUNTY
Defendant. CASE NO: C-03-CV-24-002264 |

|

DEFENDANT'S MOTION TO WITHDRAW THE ORIGINAL MOTION TO STRIKE
NOTICE OF VOLUNTARY DISMISSAL FILED ON OCTOBER 25, 2024

COMES NOW, Defendant, Ryan Dillon-Capps, and respectfully moves this Court to withdraw

the original Motion to Strike Notice of Voluntary Dismissal filed on October 25, 2024, in

envelope number 18554103. Defendant submits this Motion in light of an amended Motion to

Strike being filed concurrently, which provides corrected, clarified, and additional grounds for

relief initially sought in the original motion.

1 In support of this Motion, Defendant states as follows:
Ls Legal Basis for Withdrawal: Under Maryland Rule 2-311, parties may submit,
amend, or withdraw motions as necessary during litigation, particularly if the initial filing
requires corrections or if additional information is needed to fully present the issues to the
Court. Maryland courts recognize the right of a party to withdraw a motion prior to a
ruling to ensure that the Court considers the most accurate and complete filing. The
purpose of Rule 2-311 is to facilitate judicial efficiency by allowing parties to modify
their positions as litigation develops, provided such changes do not unduly prejudice the

opposing party.

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- Ruling Record Summary # 70 of 70 Pat Stringer EXHIBIT 104

